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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

IN RE DPP BEEF LITIGATION
                                          Case No. 0:20-cv-1319 (JRT/HB)
This document relates to:
                                          AMENDED COMPLAINT
Case No. 21-CV-01751                      JURY TRIAL DEMANDED

Winn Dixie, Inc. and Bi-Lo Holding, LLC
             vs.
Cargill, Inc., et al
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       Plaintiffs, Winn-Dixie Stores, Inc., and Bi-Lo Holding, LLC (collectively “Plaintiffs”),

by and through their attorneys, bring this action against Defendants Cargill, Inc., Cargill Meat

Solutions Corporations (a/k/a Cargill Protein) (“CMS”), JBS S.A., JBS USA Food Company

(“JBS USA”), Swift Beef Company (“Swift”), JBS Packerland, Inc. (“Packerland”), National

Beef Packing Company (“National Beef”), Tyson Foods, Inc. (“Tyson Foods”), Tyson Fresh

Meats, Inc. (“Tyson Fresh”) (collectively “Defendants”), and unnamed co-conspirators, and

for their Complaint against Defendants, Plaintiffs allege as follows:

I.     NATURE OF THIS ACTION

       1.     Defendants are the world’s largest meat processing and packing companies,

known in the industry as meatpackers or packers. In 2018, the operating company Defendants

(Tyson Fresh, CMS, Swift/Packerland, and National Beef) (collectively “Operating

Defendants”) — sold approximately 80 percent of the more than 25 billion pounds of fresh and

frozen beef supplied to the U.S. market. Collectively, they controlled approximately 81–85

percent of the domestic cattle processed (or slaughtered) in the market throughout the

Conspiracy Period. The next largest meatpacker had only a 2–3 percent market share.

       2.     Since at least January 1, 2015 until the present (the “Conspiracy Period”),

Defendants have exploited their market power in this highly concentrated market by

conspiring to limit the supply, and fix the prices, of beef 1 sold to Plaintiffs in the U.S.


1
  In this Complaint, “beef” means boxed and case-ready meat that has been processed from fed
cattle by Defendants and other smaller, nondefendant producers. It excludes ground beef made
from culled dairy cows, but includes ground beef made from Cattle. “Cattle” means fed cattle
before they are processed into beef and excludes culled dairy cows. “Fed” cattle means steers
and heifers raised in feedlots on a concentrated diet for the production and sale of beef.
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wholesale market. The principal, but not exclusive, means Defendants have used to effectuate

their conspiracy is a scheme to artificially constrain the supply of beef entering the domestic

supply chain. Defendants’ collusive restriction of the beef supply has had the intended effect

of artificially inflating beef prices. As a result, Plaintiffs paid higher prices than they would

have paid in a competitive market.

       3.     Recently, the U.S. Department of Justice (“DOJ”) and U.S. Department of

Agriculture (“USDA”) launched investigations into whether Defendants fixed beef prices in

the United States. On June 4, 2020, news sources reported, and Plaintiffs confirmed, that

DOJ’s Antitrust Division sent civil investigative demands to Defendants Tyson Foods, JBS

SA, and Cargill, Inc., and to National Beef Inc. (a company related to Defendant National

Beef) seeking information about their pricing practices dating back to January 2015.

       4.     In March 12, 2020, testimony before the Senate Subcommittee on Agriculture,

Rural Development, Food and Drug Administration, and Related Agencies, Secretary of

Agriculture Sonny Perdue announced that the USDA had begun an investigation into

suspiciously high beef prices. Secretary Perdue expressed serious concern that meatpackers

were paying lower prices for live cattle without passing the cost savings on to Plaintiffs and

other beef purchasers. As he explained, the difference between prices for live cattle and prices

for wholesale beef was “historically high.”

       5.     A confidential witness previously employed by Swift at its Cactus, TX slaughter

plant has confirmed the existence of a conspiracy among the Operating Defendants. The

witness has confirmed that all the Defendants agreed to reduce their cattle purchases and
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slaughter volumes for the purpose and effect of increasing their margins (i.e., the spread

between what Defendants pay cattle ranchers for fed cattle and the price they charge

Plaintiffs). Defendants’ transactional data and slaughter volume records, information published

by the USDA, and Defendants’ public calls for industry-wide slaughter and capacity

reductions corroborate Witness 1’s account.

       6.     In addition to the high concentration in the wholesale beef industry, other

structural characteristics of the domestic beef market facilitate Defendants’ conspiracy.

Operating Defendants sit atop the supply and distribution chain that ultimately delivers beef to

the market. Their vital role is to purchase cattle from the nation’s farmers and ranchers,

slaughter and pack cattle into beef, and sell beef to Plaintiffs. Operating Defendants’

gatekeeping role has enabled them to collusively control upstream and downstream beef

pricing throughout the Conspiracy Period.

       7.     Other market characteristics serve as plus factors and support the inference of

collusion among Defendants during the Conspiracy Period. These characteristics include

producer concentration, high barriers to entry, inelastic demand, the commodity nature of beef,

frequent opportunities to conspire, strong demand, market share stability, and decreased

imports. These economic factors encouraged and fomented the formation of Defendants’

conspiracy and continue to foster its successful operation.

       8.     Operating Defendants capitalized on the fundamental mechanism of supply and

demand operating in a beef market vulnerable to successful cartel formation and operation,

and illegally collaborated to restrain and manage production of beef in the United States.
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       9.     These practices created surpluses in the cattle market and shortages in the

wholesale beef market. These artificial conditions, in turn, drove down the prices Operating

Defendants paid for cattle and boosted the prices Operating Defendants commanded for beef.

The result intended and achieved by Operating Defendants has been higher profit margins

(e.g., meat margins) than would have existed in a competitive market.

       10.    This growth of Operating Defendants’ margins was aided by the way supply and

demand operate in the beef industry. The supply of cattle is insensitive to short-term price

changes because of the long lifecycle of livestock, livestock’s perishable nature, and the lack

of any alternative use for livestock. Beef demand is also relatively insensitive to price

fluctuations. As a result, Operating Defendants’ margins are very responsive to changes in the

aggregate volume of slaughtered cattle.

       11.    Another form of interaction conducive to Defendants’ collusion was frequent

meetings between each other’s executives and key employees. Trade association conferences

and other industry events offered convenient opportunities to exchange information, plans and

strategies, and to build relationships. As described throughout this complaint, Operating

Defendants seized these opportunities to advance their collusive supply restrictions.

       12.    By the beginning of 2015, Defendants had begun exploiting favorable market

conditions to launch their conspiracy. At that time, they undertook a campaign of reducing and

restraining the beef supply, which campaign persists today. Publicly available industry data

demonstrates Operating Defendants’ abrupt transition from competition to collusion. Joint

management of their respective slaughter volumes during the Conspiracy Period is
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immediately apparent from Figure 1 below, which tracks their quarterly slaughter volumes and

shows them moving in tandem.

                                           Figure 1




      13.    The results of Defendants’ agreement to coordinate slaughter reductions and

volume are illustrated in Figures 2 and 3 below. Figure 2 compares the average annual beef

cattle slaughter by Operating Defendant and the smaller, non-defendant beef producers in the

market before the Conspiracy Period (2007–2014) to the same average during the first five

years of the Conspiracy Period (2015–2019), the years for which data is available.




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       14.    Figure 3 also compares the Operating Defendants’ and the Independent Packers’

annual slaughter volumes during the Conspiracy Period and the pre-Conspiracy Period, but

breaks out the slaughter volume for each year of the Conspiracy Period for which data is

available. The graph confirms that Tyson Fresh, Swift/Packerland, CMS, and National Beef

each slaughtered less fed cattle in every year in the Conspiracy Period compared to their pre-

Conspiracy Period averages. It also shows that while Tyson Fresh, Swift/Packerland, CMS,

and National Beef each gradually increased their slaughter volume from 2016 after their

dramatic 2015 reductions, as the supply of fed cattle increased, their rate of increase was vastly




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outpaced by the slaughter volume increases of Independent Packers during the same period.2

Operating Defendants thus used periodic slaughter reductions and underutilized plant capacity

to ensure their supply of beef never outstripped demand.

                                        Figure 3.
    Average Pre- & Post-Conspiracy Period Fed Cattle Slaughter- Operating Defendant vs.
                                         Others




         15.   These figures demonstrate that each Operating Defendant family curtailed its

annual slaughter volumes during the Conspiracy Period, while the smaller beef processors

collectively increased their slaughter volumes during the same period without making up the

shortfall of beef created by the conspiracy.

         16.   As an immediate consequence of Operating Defendants’ reduced supply, the


2
      National Beef acquired Iowa Premium in June 2019, adding 300,000 head to its
annual fed cattle slaughter volume. Absent that acquisition, its year-on-year slaughter
volume was flat against 2018, while Independent Packers collective slaughter volume rose
by approximately 100,000 head (netting out National Beef's acquisition of Iowa
Premium).
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beef market experienced a dramatic change of price behavior. Before 2015, prices of cattle and

beef predictably moved in tandem. That correlation was the natural economic relationship in a

competitive market because beef is simply processed cattle.

      17.    But, at the start of the Conspiracy Period, when Operating Defendants began to

cut production, this fundamental economic relationship between cattle and beef prices abruptly

changed. The degree of correlation of cattle and beef prices diverged (to Operating

Defendants’ benefit) without any credible, non-collusive explanation. The relevant supply and

demand factors in the industry no longer explained the prices charged to direct purchasers.

      18.    Starting in 2015, wholesale beef prices began to show unusual trends. The per-

pound price of cattle had historically stayed within 20 to 40 cents of the per-pound average

wholesale price of beef. But in 2015, the spread between those prices increased dramatically as

Figure 4 and Figure 5 demonstrate.




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          19.   According to USDA Economic Research Service data, the average spread

between the average farm value of cattle and wholesale value of beef was substantially higher

from January 2015 to present than during the preceding five years. From 2010 to 2014, the

average farm-to-wholesale spread was about $34. But from 2015 to 2018, the average spread

was about $54—a 59% increase. The spread continued to balloon, by 2020 reaching about

$71, a 109% increase from the pre-conspiracy period average.

          20.   Operating Defendants’ ability to cut beef production while maintaining inflated

beef prices during the Conspiracy Period provides compelling circumstantial evidence of their

conspiracy. In a beef market free from collusion, if a competitor reduces its purchase of cattle,

other competitors quickly pick up the slack to boost their sales and increase their market

shares.

          21.   In that environment, a competitor would not cut its purchases and suffer lost

sales thereby compromising any hope of increasing its profit margin. Only colluding

meatpackers would expect to benefit by reducing their purchases and slaughter of cattle –

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because they knew their would-be competitors would not be increasing their purchasing

volumes as one would expect in a competitive market. By concertedly slashing their supply

output, Operating Defendants have been able to expand their profit margins, confident that

none of them would grab volume from another.

       22.    United by their conspiracy, Operating Defendants were confident that none of

them would break ranks and disproportionately expand their beef production to satisfy unmet

demand. Armed with this assurance, Operating Defendants improved their meat margins by

achieving and sustaining an unprecedented gap between cattle and beef prices.

       23.    Aided by their collective market power in the upstream (cattle) and downstream

(beef) markets, Operating Defendants’ conspiracy allowed them to steadily enlarge their

operating margins throughout the Conspiracy Period. By the end of 2020, the two largest

Defendants, Tyson Foods and JBS USA, were reporting record margins in their beef business.

Tyson Foods reported that its beef business’ operating margin was nearly 10.7% percent—

nearly triple its 2014 operating margin. JBS USA reported a higher beef business margin of

11.5% percent for the first three quarters of 2020.

       24.    In summary, Defendants colluded during the Conspiracy Period to reduce

supplies of beef in tandem thereby raising and fixing beef prices at levels higher than prices

that would have prevailed had the beef market been competitive. As a direct result, Plaintiffs

suffered antitrust injury by paying illegally inflated prices for beef they purchased from

Defendants.


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II.    JURISDICTION AND VENUE

       25.    Plaintiffs bring this action under Sections 4(a) and 16 of the Clayton Act, 15

U.S.C. §§ 15(a) and 26, to secure damages injunctive relief for Defendants’ violations of

Section 1 of the Sherman Act, 15 U.S.C. § 1.

       26.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337 and

Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

       27.    Venue is proper in this District under Sections 4, 12, and 16 of the Clayton Act,

15 U.S.C. §§ 15, 22, and 26 and 28 U.S.C. § 1391(b), (c) and (d) because one or more

Defendants reside in, are found in, transacted business in, or have an agent who transacted

business in this District and because a substantial portion of the affected interstate commerce

was carried out here.

       28.    This Court has personal jurisdiction over each of the Defendants because, among

other reasons, each Defendant (a) transacted business throughout the United States, including

in this District; (b) manufactured, sold, shipped, and delivered or directed the manufacture,

sale, shipment, and delivery of substantial quantities of beef throughout the United States,

including in this District; (c) had substantial contacts with the United States, including in this

District; and (d) engaged in an antitrust conspiracy that was directed at and had a direct,

foreseeable, and intended effect of causing injury to the business or property of persons

residing in, located in, or doing business throughout the United States, including in this

District.

       29.    Defendants’ and co-conspirators’ activities were within the intended flow of

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commerce within the United States and had direct, substantial, and reasonably foreseeable

effects on foreign and interstate commerce.

III.   PARTIES

       A.    Plaintiffs

       30.   Plaintiff Winn-Dixie Stores, Inc. (“Winn-Dixie”) is a corporation organized under

the laws of the State of Florida with its principal place of business at 200 Prominence Parkway,

Jacksonville, Florida. Winn-Dixie directly purchased beef from one or more Defendants or

their co-conspirators during the Conspiracy Period. In addition, Winn-Dixie brings this action

on its own behalf and as the assignee of C&S Wholesale Grocers, Inc., a grocery wholesaler

that, during the relevant period, purchased directly from Defendants for resale to Winn-Dixie

and has specifically and expressly assigned its antitrust and other claims arising out of those

purchases to Winn-Dixie. During the time period relevant to Plaintiffs’ claims, Winn-Dixie

and/or its assignor directly purchased beef from one or more Defendants and/or their co-

conspirators. Winn-Dixie suffered antitrust injury as a direct result of the antitrust violations

alleged in this Complaint.

       31.   Plaintiff Bi-Lo Holding, LLC (“Bi-Lo”) is a limited liability company organized

under the laws of the State of Delaware with its principal place of business at 200 Prominence

Parkway, Jacksonville, Florida. Bi-Lo directly purchased beef from one or more of the

Defendants, or their co-conspirators during the Conspiracy Period. In addition, Bi-Lo brings

this action on its own behalf and as the assignee of C&S Wholesale Grocers, Inc., a grocery

wholesaler that, during the relevant period, purchased directly from Defendants for resale to Bi-

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Lo and has specifically and expressly assigned its antitrust and other claims arising out of those

purchases to Bi-Lo. During the time period relevant to Plaintiffs’ claims, Bi-Lo and/or its

assignor directly purchased beef from one or more Defendants and/or their co-conspirators. Bi-

Lo suffered antitrust injury as a direct result of the antitrust violations alleged in this

Complaint.

       B.     Defendants

              1.     The Cargill Defendants

       32.    Cargill, Inc. is a privately held Delaware corporation with its principal place of

business at 15407 McGinty Road, Wayzata, Minnesota 55391. During the Conspiracy Period,

Cargill, Inc. and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates sold

beef in interstate commerce, directly or through Cargill, Inc.’s wholly owned or controlled

affiliates, to purchasers in the United States. Cargill, Inc. is the parent company.

       33.    Defendant Cargill Meat Solutions Corporation (a/k/a Cargill Protein) (“CMS”) is

a Cargill, Inc. subsidiary. CMS is a Delaware corporation with its principal place of business at

825 East Douglas Avenue, Wichita, Kansas 67202. CMS is the principal operating entity within

Cargill, Inc.’s U.S. cattle and beef business and is a wholly owned subsidiary of Cargill, Inc.

On information and belief, CMS owns directly, or indirectly through its subsidiaries, Cargill,

Inc.’s U.S. fed cattle slaughter plants, and contracts for the purchase of cattle slaughtered there.

       34.    Throughout the Conspiracy Period, Cargill, Inc. wholly owned, as a direct or

indirect subsidiary, CMS and sold, along with CMS, beef in interstate commerce, directly or

through this wholly owned or controlled affiliate, to purchasers in the United States.

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       35.    During the Conspiracy Period, Cargill, Inc. and CMS shared a unity of corporate

interest and operated as part of a single enterprise in furtherance of the conspiracy that

purposefully directed conduct causing injury to and derived direct benefit from Plaintiffs in the

United States and this District.

              2.     The JBS Defendants

       36.    Defendant JBS S.A. is a Brazilian corporation with its principal place of business

at Av. Marginal Direta do Tiete, 500 Bloco 3-30 andar, Vila Jaguara, Sao Paulo 05.118-100,

Brazil. During the Conspiracy Period, JBS S.A. and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates sold beef in interstate commerce, directly or through JBS

S.A.’s wholly owned or controlled affiliates, to purchasers in the United States. JBS S.A. is the

parent company.

       37.    JBS USA Food Company (“JBS USA”) is a Delaware corporation with its

principal place of business at 1770 Promontory Circle, Greeley, Colorado 80634. JBS USA is

the principal operating entity within JBS S.A.’s U.S. cattle and beef business and the

contracting entity for certain of JBS S.A.’s purchases of fed cattle in the United States.

       38.    Defendant Swift Beef Company (“Swift”) is a Delaware corporation with its

principal place of business at 1770 Promontory Circle, Greeley, Colorado 80634. Swift owns

directly, or indirectly through its subsidiaries, certain of JBS S.A.’s U.S. fed cattle slaughter

plants including the Cactus, Texas; Greeley, Colorado; Grand Island, Nebraska; and Hyrum,

Utah plants. On information and belief, Swift contracts for the majority of fed cattle to be

slaughtered at these plants.

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       39.      Defendant JBS Packerland, Inc. (“Packerland”) is a Delaware corporation with its

principal place of business at 1770 Promontory Circle, Greeley, Colorado 80634.

       40.      On information and belief, Packerland owns directly, or indirectly through its

subsidiaries, certain of JBS S.A.’s U.S. fed and dairy cattle slaughter plants, including the

Packerland packing plants in Green Bay, Wisconsin and Plainwell, Michigan, the Sun Land

beef plant in Tolleson, Arizona, and the Moyer Packing plant in Souderton, Pennsylvania. On

information and belief, Packerland contracts for the majority of fed cattle to be slaughtered at

these plants.

       41.      Various senior staff and executives responsible for the operation of JBS’s US fed

cattle and beef business during the Conspiracy Period were employed by each of JBS USA,

Swift, and Packerland.3

       42.      Throughout the Conspiracy Period, JBS S.A. wholly owned as direct or indirect

subsidiaries, JBS USA, Swift, and Packerland and sold, along with JBS USA, Swift, and

Packerland, beef in interstate commerce, directly or through these wholly owned or controlled

affiliates, to purchasers in the United States.

       43.      During the Conspiracy Period, the JBS Defendants shared a unity of corporate

interest and operated as part of a single enterprise in furtherance of the conspiracy that

purposefully directed conduct causing injury to and derived direct benefit from Plaintiffs in the

United States and in this District.

3
      See JBS USA’s, Swift’s, and Packerland’s September 25, 2020 Updated Disclosures
Pursuant to Attachment 1 of ECF No. 187 in Peterson, et al. v. JBS USA Food Company
Holdings, et al., Case No. 19-cv-1129, at 3-7, 12-13.
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              3.     The Tyson Defendants

       44.    Tyson Foods, Inc. (“Tyson Foods”) is a publicly traded Delaware corporation

headquartered in Springdale, Arkansas. During the Conspiracy Period, Tyson Foods and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold beef in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in the

United States.

       45.    Defendant Tyson Fresh Meats, Inc. (“Tyson Fresh”) is a wholly owned subsidiary

of Tyson Foods. Tyson Fresh is a Delaware corporation with its principal place of business at

800 Stevens Port Drive, Dakota Dunes, South Dakota 57049. Tyson Fresh is the principal

operating entity within Tyson Foods’ U.S. cattle and beef business.

       46.    On information and belief, Tyson Fresh owns directly, or indirectly through its

subsidiaries, Tyson Foods’ U.S. fed cattle slaughter plants and contracts for the purchase of

cattle slaughtered there.

       47.    Throughout the Conspiracy Period, Tyson Foods wholly owned as a direct or

indirect subsidiary, Tyson Fresh and sold, along with Tyson Fresh, beef in interstate commerce,

directly or through this wholly owned or controlled affiliate, to purchasers in the United States.

       48.    On June 10, 2020, Tyson Foods announced it was fully cooperating with DOJ’s

price-fixing investigation into the broiler chicken industry under the antitrust division’s

Corporate Leniency Program.

       49.    During the Conspiracy Period, the Tyson Defendants shared a unity of corporate

interest and operated as part of a single enterprise in furtherance of the conspiracy that

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purposefully directed conduct causing injury to and derived direct benefit from Plaintiffs

members in the United States and in this District.

              4.     National Beef Packing Company

       50.    National Beef Packing Company (“National Beef”) is a privately owned

Delaware limited liability company with its principal place of business located at 12200 North

Ambassador Drive, Suite 500, Kansas City, Missouri 64163. National Beef and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold beef in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in the

United States.

       51.    On information and belief, National Beef owns directly, or indirectly through its

subsidiaries, National Beef’s U.S. fed cattle slaughter plants and contracts for the purchase of

cattle slaughtered there.

       C.     Defendants and Their Subsidiaries and Affiliates

       52.    “Defendants” includes all Defendants’ predecessors, including beef meatpackers

merged with or acquired by any Defendant and each Defendant’s wholly owned or controlled

subsidiaries or affiliates that sold beef in interstate commerce directly to purchasers in the

United States during the Conspiracy Period.

       53.    Each of the Defendants sold or distributed beef to direct purchasers or played a

material role in the coordinated and collusive behavior alleged. All Defendants were active,

knowing participants in the conspiracy alleged, and their conduct, to the extent committed by

the Operating Defendants was known to and approved by their parent Defendants.

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       D.     Defendants’ Co-Conspirators

       54.    Unknown persons, firms, and corporations not named as Defendants participated

as co-conspirators with Defendants and performed acts and made statements in furtherance of

Defendants’ conspiracy. Defendants are jointly and severally liable for the acts of their co-

conspirators, whether Plaintiffs have named these co-conspirators as Defendants.

       E.     Reciprocal Agency of Defendants and Co-Conspirators

       55.    Each Defendant and co-conspirator acted by or through its officers, directors,

agents, employees, or representatives while actively engaged in the management, direction,

control, or transaction of the corporation’s business or affairs.

       56.    Each Defendant and co-conspirator acted as the agent or joint-venturer of the

other Defendants and co-conspirators with respect to the acts, violations, and common course

of conduct Plaintiffs allege.

       F.     Defendant Parent and Subsidiary Companies Share A Unity of Interest

       57.    The coordinated activity of a parent and its wholly owned subsidiary is viewed as

that of a single enterprise for purposes of Section 1 of the Sherman Act.

       58.    A parent and its wholly owned subsidiary have a complete unity of interest.

Their objectives are common, not disparate, and their general corporate actions are guided or

determined not by two, separate corporate consciousnesses, but by one. Accordingly, the

coordinated activity of a parent and its wholly owned subsidiary is viewed as that of a single

enterprise.

       59.    A parent and its wholly owned subsidiary always have a unity of purpose and

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thus act as a single enterprise whenever they engage in coordinated activity.

       60.    By controlling, dictating, or encouraging their subsidiaries’ anticompetitive

conduct in advancement of a common scheme for an illegal and anticompetitive purpose, the

parent Defendants independently participated in the illegal enterprise that they entered with

their subsidiaries. In doing so, the parent Defendants engaged in sufficient independent

participation in the conspiracy and had sufficient knowledge, intent, and involvement in

Operating Defendants’ conspiracy to be liable under the Sherman Act as a single enterprise

with their subsidiaries.

       61.    During the Conspiracy Period, the parent Defendants shared a unity of corporate

interest and operated as part of a single enterprise with their subsidiaries, the Operating

Defendants, to advance their conspiracy.

              1.     The Cargill Defendants

       62.    Rather than owning and operating subsidiaries to diversify risk and earn profits

by investing in them, Cargill, Inc. formed subsidiaries to conduct business that it otherwise

would have conducted itself. To this end, Cargill, Inc. created CMS to conduct its business in

the meat industry that Cargill, Inc. previously operated itself.

       63.    Cargill, Inc. presents itself and its subsidiaries to the public as a single unified

enterprise. For example, on its website, Cargill, Inc. reports that it employs 155,000 workers in

70 countries. Plaintiff is informed and therefore believes and alleges that these numbers include

CMS employees. Cargill, Inc. has also publicly announced consolidated revenues, earnings,

and cash flow that Plaintiff believes include performance results from CMS’s beef operations.

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      64.    In the Letter to Stakeholders included in Cargill, Inc.’s 2019 Annual Report,

Cargill, Inc. reported that it “delivered $2.82 billion in adjusted operating earnings in fiscal

2019. Revenues dipped 1% to $113.5 billion. Cash flow from operations totaled $5.19 billion.”

On information and belief, those statistics include earnings, revenues, and cash flows from all

Cargill, Inc. subsidiaries as well as Cargill, Inc. itself. In the same document, Cargill, Inc.

reported that its “[e]arnings were led by our North American protein businesses. With steady

domestic and export demand, and plentiful cattle supplies, the beef business posted its third

consecutive year of strong performance.”

      65.    There is one unified system that processes both companies’ purchase orders,

which also demonstrates the relationship between Cargill, Inc. and CMS.

      66.    Further, Cargill, Inc. operates other business services, including information

technology, human resources, finance, transportation and logistics, and procurement, with and

for CMS.

      67.    Cargill, Inc. plays an active role in managing CMS’s business operations. As one

example, Cargill, Inc.’s website reported that its chairman and CEO, David MacLennan,

“supervised several businesses in Cargill Protein,” which subsumes CMS.

      68.    As another example, Cargill, Inc. describes the responsibilities of executive team

member, Brian Sikes, as including “leading Cargill’s global protein and salt businesses,”

overseeing “Cargill’s protein business in North America and Europe,” and leading “the

transformation of the North American protein business.” Mr. Sikes lives in Wichita, Kansas,

the principal place of business of CMS.

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       69.    Finally, Cargill, Inc.’s slaughter plants in Fresno, California, Wyalusing,

Pennsylvania, and Friona, Texas all list either “Cargill” or “Cargill Beef” as DBAs with the

USDA Food Safety Inspection Service.

       70.    Cargill, Inc.’s extensive involvement in CMS’s management and operations

demonstrates these entities’ unity of purpose (e.g., to profit from their price fixing) and

common objectives. Cargill, Inc.’s extensive involvement in CMS’s management and

operations demonstrates that Cargill, Inc. does far more than provide long-term strategy or

guidance to CMS. Cargill, Inc. created CMS as its instrumentality to execute Cargill, Inc.’s

directives. Throughout the Conspiracy Period, Cargill, Inc. exerted, and had the right to exert,

control over CMS. In this manner, Cargill, Inc. independently participated in the illegal

enterprise with CMS and, as a result, has sufficient knowledge, intent, and involvement in

Defendants’ conspiracy to be found liable under the Sherman Act with CMS as a single

enterprise.

              2.     The JBS Defendants

       71.    JBS S.A. is not merely a holding company whose business is restricted to

investments in operating subsidiaries. JBS S.A. established subsidiaries, including JBS USA,

Swift, and Packerland, to conduct its business, including the purchase and processing of cattle

and the sale of beef. Had JBS S.A. not created or acquired these subsidiaries, it would have

performed these functions itself.

       72.    JBS S.A. presents itself as a unified enterprise and conducts consolidated

earnings calls on which its corporate representatives discuss the operations and profits of JBS

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S.A., including JBS USA, Swift, and Packerland. On these calls, JBS S.A. executives have

described the beef business it conducts through JBS USA, which it refers to as “JBS beef,” as a

“division” or “business unit.” JBS S.A. commonly refers to JBS USA as its “JBS USA beef

business[.]” As reported on JBS USA’s financial statements, JBS USA “conducts its United

States beef and pork processing businesses through its wholly-owned subsidiaries Swift Beef

Company (‘Swift Beef’), Swift Pork Company (‘Swift Pork’) and JBS Packerland, Inc.”

       73.    JBS S.A. appointed JBS USA’s CEO Andre Nogueira. He “report[s] directly” to

JBS Global Operations’ CEO. In Mr. Nogueira’s online “Welcome” message, he explains that

JBS USA operates “[i]n partnership with JBS S.A.”

       74.    Operating Defendants Swift and Packerland are fully integrated into the JBS USA

enterprise. They rest under the complete control of JBS USA, and in turn, JBS S.A. JBS USA

directs and oversees all JBS’s U.S. cattle procurement, beef processing, and sales operations,

with ultimate direction from JBS S.A. JBS USA’s financial statements are replete with

references to notes, loans, and credit facilities that “are guaranteed by our Parent, JBS S.A.”

       75.    The career progression of Wesley Batista Filho clearly demonstrates the level of

control JBS S.A. maintains over its subsidiaries, as JBS S.A. installed Wesley Batista Filho into

whatever subsidiary they wished, at whatever level they wished, whenever they wished. Wesley

Batista Filho is the son of former JBS S.A. CEO Wesley Batista, and the grandson of founder

Jose Batista Sabrinho. His grooming to become the next Batista to lead JBS S.A. began with a

position as a trainee in the JBS USA beef plant in Greeley, Colorado. He then returned to

Brazil, where he worked for JBS S.A. in a variety of roles. Soon after, he became Head of JBS

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Uruguay, and then Head of JBS Paraguay. He was next installed as Head of JBS Canada. After

that, he was made Head of Fed Beef for JBS USA and President of JBS USA and Swift Beef.

Now, he is president of all JBS operations in South America.

       76.    Swift and JBS Packerland’s packing operations are presented as those of JBS

USA. For example, they appear on USDA’s list of Bonded Packers as “JBS USA Food

Company, Swift Beef Company” and “JBS USA Food Company, JBS Packerland, Inc.,”

respectively. The USDA’s Food Safety and Inspection Service’s Inspection Directory lists

“JBS,” “JBS USA,” and “JBS USA Food Company” amongst other DBAs for Swift.

       77.    JBS S.A.’s extensive involvement in JBS USA’s, Swift’s, and Packerland’s

management and operations demonstrates these entities’ unity of purpose (e.g., to profit from

their price fixing) and common objectives. JBS S.A.’s extensive involvement in JBS USA’s,

Swift’s, and Packerland’s management and operations also reveals that these entities’ general

corporate actions are guided and determined by one corporate consciousness. JBS S.A. does

more than provide long-term strategy and guidance to JBS USA, Swift, and Packerland. The

entire purpose of these subsidiaries is to serve as instrumentalities by executing JBS S.A.’s

directives within the greater JBS enterprise. Throughout the Conspiracy Period, JBS S.A.

exerted, and had the right to exert, total control over JBS USA, Swift, and Packerland. In this

manner, JBS S.A. independently participated in the illegal enterprise with JBS USA’s, Swift’s,

and Packerland’s and, as a result, has sufficient knowledge, intent, and involvement in

Defendants’ conspiracy to be found liable under the Sherman Act with JBS USA’s, Swift’s,

and Packerland’s as a single enterprise.

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             3.     The Tyson Defendants

      78.    Tyson Foods is not a mere holding company whose business is restricted to

investments in operating subsidiaries. Rather, Tyson Foods formed subsidiaries to act as its

agents and representatives to conduct business activities that Tyson Foods would have

otherwise conducted. With respect to Tyson Foods’ subsidiary Tyson Fresh, those activities

include purchasing and processing cattle and selling beef.

      79.    Tyson Foods holds itself out to the public as a single unified enterprise,

describing the beef business it conducts through Tyson Fresh as a mere “business unit.” Indeed,

before Noel White became Tyson Foods’ CEO (now former CEO), he was “group president of

Tyson’s Fresh Meats business unit.”

      80.    On its quarterly earnings calls, Tyson Foods’ corporate representatives include

Tyson Fresh when discussing the company’s financial performance. On these calls, Tyson

Foods announces operating income and returns on sales from its beef segment business that

Tyson Fresh operates. More specifically, on these calls Tyson Foods attributes improved

returns to actions taken at plants that Tyson Fresh owns and operates.

      81.    During a January 31, 2014, earnings call, Tyson Foods management employees

explained to investors that Tyson Foods had generated $58 million in operating income and a

1.6% return on sales from its beef segment business, despite that business being operated

directly by Tyson Fresh Meats. On the same call, Tyson Foods’ managers stated that “as the

calf crop declines . . . we’ll probably have to curtail production.” Production of the beef from

the calf crop is an activity which is undertaken by Tyson Fresh.

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       82.     On other earning calls, Tyson Foods has described actions taken by Tyson Fresh

to advance Defendants’ conspiracy. For example, on its August 3, 2015, earnings call, Tyson

Foods explained its strategy for cattle purchasing implemented by Tyson Fresh as “we run for

margin and not for market share, we’re not willing to overpay for cattle and we’ve had to cut

back on our hours at our plants resulting in inefficiencies and added costs.”

       83.     Similarly, on Tyson Foods’ May 7, 2018, earnings call, with respect to beef

production plants owned and operated by Tyson Fresh, Tyson Foods explained that “we have to

stop production, we have closed plants, several times in the quarter, not every plant, but several

plants in the quarter.”

       84.     Tyson Foods and Tyson Fresh also guarantee each other’s debts. Tyson Fresh has

issued multiple debt securities guaranteed by Tyson Foods. In a registration statement filed

with the SEC in 2009, Tyson Foods notified investors that Tyson Fresh pledged not only its

own assets to guarantee debt instruments but also those of Tyson Foods and certain “other

domestic operation subsidiaries of Tyson [Foods].”

       85.     Similarly, in a 2014 prospectus filed with the SEC, Tyson Foods stated that

Tyson Fresh would act as a guarantor to Tyson Foods’ debt securities, including debentures,

notes, and all other types of debt. Tyson Foods has issued multiple senior notes under this

arrangement.

       86.     Finally, in registrations with the USDA’s Food Safety Inspection Service, Tyson

Fresh slaughter plants in Dakota City, Nebraska, Lexington, Nebraska, and Amarillo, Texas,

identify Tyson Foods as a business name of Tyson Fresh.

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       87.    Tyson Foods’ extensive involvement in Tyson Fresh’s management and

operations demonstrates these entities’ unity of purpose (e.g., to profit from their price fixing)

and common objectives. Tyson Foods’ extensive involvement in Tyson Fresh’s management

and operations also reveals that these entities’ general corporate actions are guided and

determined by one corporate consciousness. Tyson Foods does not merely provide long-term

strategy and guidance to Tyson Fresh. Tyson Fresh’s entire purpose is to execute Tyson Foods’

directives within the greater Tyson enterprise and to serve as an instrumentality of Tyson

Foods. Throughout the Conspiracy Period, Tyson Foods exerted, and had the right to exert,

control over Tyson Fresh. In this manner, Tyson Foods independently participated in the illegal

enterprise with Tyson Fresh and, as a result, has sufficient knowledge, intent, and involvement

in Defendants’ conspiracy to be found liable under the Sherman Act with Tyson Fresh as a

single enterprise.

IV.    INDUSTRY BACKGROUND

       88.    The market for fed cattle in the United States is enormous. For example, in 2017

alone, 25.8 million fed cattle were slaughtered and processed into beef products. This amount

accounted for 80% of the 32.2 million commercial cattle slaughtered across the United States.4

       89.    The cattle production cycle, running from birth to slaughter, typically ranges

between 15 to 24 months, and is the longest of all animals typically raised for meat.

       90.    Fed cattle progress through three interrelated sectors prior to slaughter: cow/calf;


4
        The remaining volume is comprised of slaughter cows (female cattle that have birthed a
calf) and bulls, whose meat is typically used for lesser quality beef products such as hamburger
patties.
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stocking and background; and feedlots, as detailed in Figure 6 below.



                                         Figure 6.




      91.    Production of cattle raised for beef takes considerable time and investment. The

life cycle of cattle raised for beef is longer than that of any other animal commonly raised for

meat. As Figure 6 illustrates, the beef value chain comprises several stages. First, calves are

raised by their mothers for six to ten months. When they weigh about 500 pounds, the calves

are weaned and sold to the stocker-yearling sector where they eat a diet of forage, wheat

pasture, and sileage. When a steer or heifer reaches 600–800 pounds, it is sold to a feedlot
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where it eats corn and protein supplements in addition to roughage.

       92.    Once cattle reach 950–1,300 pounds, they are sold as fed cattle to the beef-

packing stage. Defendants and other beef producers then slaughter and process the cattle into

edible boxed beef and smaller case-ready consumer cuts. A steer weighing 1,000 pounds

typically yields about 450 pounds of edible beef.

       93.    Cattle are sold to beef processors through two channels. About 70 percent of

cattle are sold through supply contracts (known as captive-cattle agreements) with feedlots or,

to a lesser extent, ranching operations. The rest of the cattle are sold on the spot market, which

is typically the benchmark for prices under the captive-cattle agreements. Because Defendants

and other beef producers ordinarily have a steady supply of cattle through captive-cattle

agreements, they are not forced to buy in the spot market. This affords Defendants the power to

suppress the price of captive cattle and cattle purchased in the spot market.

       94.    Finally, Defendants and other meatpackers sell the beef to businesses like

Plaintiffs and other retailers, grocery chains and restaurants.

       95.    Tyson Fresh, JBS USA/Swift/Packerland, CMS, and National Beef each conduct

daily meetings, typically from their head office, attended by representatives of their respective

cattle procurement, plant operations, scheduling, beef sales, and risk management teams,

among others, to make decisions regarding their respective cattle and beef operations. Among

other matters, the attendees of these meetings will discuss the number of cattle their fed cattle

business will procure, the terms on which they will be bought, plant scheduling (including

slaughter rates) across each of their slaughter facilities, and beef sales strategy.

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       96.    As the cost of fed cattle constitutes the majority of their costs of production,

Operating Defendants’ profitability is driven by the “meat margin,” which is the spread

between the price packers pay for fed cattle and the price they charge for beef. The meat

margin is very sensitive to changes in industry aggregate slaughter levels, and Tyson Fresh,

Swift/Packerland, CMS, and National Beef can, through cooperation, increase it. As noted by

the U.S. Department of Justice (“DOJ”), “all else being equal, when the meat packing industry

reduces production levels, feedlots and cattle producers are paid less for fed cattle because

fewer fed cattle are demanded and customers pay more for [beef] because less is available for

purchase. Because the supply of fed cattle and demand for [beef] are relatively insensitive to

short-term changes in price, even small changes in industry production levels can significantly

affect packer profits.”5 As a result of these sensitivities, Tyson Fresh, Swift, Packerland, CMS,

and National Beef on behalf of their parent companies, Tyson Foods, JBS S.A., JBS USA, and

Cargill Inc., can improve their profitability by coordinating their respective slaughter levels at

or below the prevailing supply of slaughter-weight fed cattle.

V.     OPERATING DEFENDANTS’ ANTITRUST VIOLATIONS

       97.    By the beginning of 2015, Operating Defendants were forced to confront

shrinking profit margins for their beef sales. The earnings calls of the two largest Defendants,

Tyson Foods and JBS S.A., reported the slumping profitability of their beef operations.

       98.    On a November 7, 2014, earnings call, Tyson Foods reported a quarterly

operating margin that was less than half the margin enjoyed by its poultry division.

5
       U.S. v. JBS, Case No. 08-cv-5992 (N.D. Ill.), ECF No. 48 (“Amended Complaint”), ¶¶
26-27. See also Section VII. D. below regarding the elasticities of fed cattle and beef.
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       99.    On a November 13, 2014, earnings call, JBS S.A. announced a badly

underperforming beef segment at JBS USA. Its quarterly margin reached only about a third of

its pork segment’s margin.

       100.   But rather than act independently in their individual business interests to restore

profitability, Operating Defendants agreed to collectively reduce and manage their respective

slaughter volumes that are made available to the downstream market, including to direct

purchasers.

       101.   The consequent beef shortage ushered in a new era of supracompetitive prices

paid by Plaintiffs and other direct purchasers.

       A.     Direct Evidence of Defendants’ Conspiracy

       102.   As confirmed by Jason F. (“Witness 1”), based on conversations with James

Hooker, head of fabrication at Swift’s Cactus plant, each of the Operating Defendants expressly

agreed to periodically reduce their respective purchase and slaughter volumes, resulting in

wholesale prices above competitive levels.

       103.   Witness 1 is a former employee of Swift. He worked for Swift as quality

assurance officer (“QA”) at Swift’s Cactus, Texas slaughter plant, located in the Texas

Panhandle. He worked there for over ten years until his employment ceased in early 2018.

       104.   During the period of his employment coinciding with the Conspiracy Period,

Witness 1 was a head QA and had primary responsibility for the plant’s kill floor, hotboxes,

and coolers. The kill floor is where cattle are slaughtered and dressed, i.e., head, hide, and

internal organs removed. The carcasses are then moved to the hotboxes to cool down, before

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being stored in the coolers ahead of fabrication, where they are broken down into smaller cuts.

       105.   Witness 1 learned of Operating Defendants’ collusive purchase and slaughter

reduction agreement from Mr. Hooker. Mr. Hooker was the head of fabrication at Swift’s

Cactus plant and, as explained below, was thus in a position to know about the unlawful

agreement.

       106.   Witness 1 regularly stopped by Mr. Hooker’s office before starting his shift to

learn the slaughter and fabrication numbers for that day and the upcoming days. These numbers

affected how Witness 1 and his team would execute their responsibilities, including the

placement of his team, arrangement of hotbox and cooler space, the number of carcasses they

would need to process through the hotbox and coolers that day, and his interactions with USDA

inspectors.

       107.   In addition to the fabrication plan, Mr. Hooker, like Witness 1, also needed to

understand the number of cattle scheduled to be slaughtered each day. Amongst other matters,

if the kill volume was lower but the price of beef remained favorable, the fabrication floor

would continue to process carcasses at typical rates. However, when kill volumes were reduced

and the price of beef was unfavorable, Mr. Hooker may order the carcasses to spend longer in

the hot boxes and coolers before being fabricated into beef cuts so as to improve grading

performance. In this circumstance, Witness 1 and his team would allow more space between

each carcass in the hotboxes. If the kill volume was higher, Mr. Hooker may need to increase

the number of carcasses fabricated to ensure there was sufficient space in the hotboxes and

coolers, and Witness 1 would need to space the carcasses closer together when filling the

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hotboxes. Further, the number of carcasses expected to be put into the hotboxes would dictate

the amount of air and water Witness 1 and his team used to ensure proper cooling speeds. In

sum, it was essential to both Mr. Hooker and Witness 1 that they know the plant’s planned

slaughter figures in order to perform their core job duties.

       108.    Witness 1 reports having had a “decent” working relationship with Mr. Hooker.

               1.    Mr. Hooker Was Well Positioned to Know About Operating
                     Defendants’ Agreement

       109.    Plaintiffs understand that Mr. Hooker continues to work at Swift’s Cactus plant,

where he has worked for over 15 years in that role, including a short stint as head of slaughter

operations. Witness 1 reports that before working for Swift in the early 2000s, Mr. Hooker

worked at Tyson Fresh’s Amarillo, Texas slaughter plant, where he was also responsible for

fabrication.

       110.    As a fabrication manager for Swift, Mr. Hooker reported directly both to Cactus’s

General Manager, Manny Guerrero,6 and directly to the beef production department of JBS

USA/Swift/Packerland’s head office in Greeley, Colorado.

       111.    As head of fabrication, Mr. Hooker needed to be informed as to cattle

buying/scheduling, cattle slaughter, and beef selling aspects of JBS USA/Swift/Packerland’s

fed cattle business. He thus interacted with personnel across JBS USA/Swift/Packerland. In

particular, in addition to his direct reports, Mr. Hooker would also speak directly to other

managers within the JBS corporate office about plant operations, including scheduled slaughter
6
       Mr. Guerrero worked for CMS for approximately 17 years prior to his move to JBS’s
Cactus Plant. He was Plant Manager for CMS’s Fresno, CA plant prior to his departure in
early 2012.
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and fabrication volumes, and fabrication priorities.

       112.   For example, Mr. Hooker would speak directly to Mr. Sergio Sampaio Nogueira,

Head of Operations and Executive Vice President of Plant Operations for JBS’s Fed Beef

Business during the Conspiracy Period, when Mr. Nogueira visited the Cactus plant, which

occurred regularly. Witness 1 understands that Mr. Hooker would also speak to Mr. Sergio

Nogueira at other times. Mr. Hooker’s contact with senior management reflects that JBS

USA/Swift/Packerland senior executives maintained direct connections with plant-level

managers, like Mr. Hooker, during the Conspiracy Period. Mr. Sergio Nogueira was installed

by Wesley Batista, JBS S.A.’s CEO,7 and was regarded as Mr. Batista’s “right hand man” in

regards to JBS’s U.S. beef operations. Mr. Sergio Nogueria had primary responsibility for

Swift’s fed cattle plant scheduling and/or operations during the Conspiracy Period.

       113.   In addition, Mr. Hooker was responsible for the Cactus plant in the absence of

Mr. Guerrero and the Plant Engineer, along with Ryan Wagnon, Head of Slaughter Operations

at Cactus. When acting as the Cactus plant’s General Manager, Mr. Hooker would liaise closely

with fed beef executives from across JBS’s head office.




7
       Wesley Batista is one of the sons of JBS S.A. founder Jose Batista Sobrinho. Wesley
Batista and his brother Joesley Batista took control of JBS S.A. in the early 2000s, prior to
JBS’ acquisition of Swift and Pilgrim’s Pride. Wesley was CEO of JBS S.A., and directed JBS’
takeover of Swift. He remained in that role, and as a director and senior executive of JBS USA,
Swift and Packerland, until he was implicated in a 2017 bribery and corruption scandal in
Brazil, for which he was ousted as CEO and spent time in prison.
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       114.    Therefore, Mr. Hooker spoke regularly to individuals very highly placed at JBS.

Indeed, the following recent photo shows the close working relationship he had with such

management:8




       115.    Mr. Hooker, Mr. Sergio Nogueria, and Mr. Wagnon, are respectively pictured on

the far left, fourth from the left, and far right.

       116.    In addition to having corporate information for JBS, Mr. Hooker had information

regarding the other Operating Defendants. Mr. Hooker regularly told Witness 1 that he was in


8
       From right to left: James Hooker - Cactus Fabrication Operations Manager; Donna
Estrada - Cactus Technical Services Manager; Al Almanza - JBS Global Food Safety Director;
Sergio Sampaio - JBS Corporate Director of Operations; Paul Kieker - FSIS Undersecretary
USDA Operations; Dr Hafeez - Texas USDA FLS; Dr Mindy Brashears - FSIS Undersecretary
USDA FS; Brian McFarlane - JBS Corporate Director of Technical Services; Mark DeRaad -
Cactus Value Added Manager; Ryan Wagnon - JBS Slaughter Operations Manager.
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contact with his former colleagues at Tyson Fresh’s Amarillo plant, including his replacement

there. Mr. Hooker also told Witness 1 that he had friends and former colleagues with whom he

stayed in touch at other Operating Defendants’ plants. Mr. Hooker would often provide Witness

1 with detailed information as to the current and future operations of Tyson Fresh, CMS, and

National Beef’s nearby packing plants.

              2.      Witness 1 Learns of an Agreement Among Defendants

       117.   Witness 1 reports having multiple discussions with Mr. Hooker during which Mr.

Hooker explained that all of the Operating Defendants reduced their purchase and slaughter

volume in order to reduce fed cattle prices when Operating Defendants viewed fed cattle prices

as being or becoming “too high” for their liking. During one such conversation, Mr. Hooker

specifically admitted that the Defendants had an “agreement” to reduce their purchase and

slaughter volumes in response to what they perceived to be high cattle prices.

       118.   That conversation occurred in 2015. Witness 1 reports that he was in Mr.

Hooker’s office when Mr. Hooker received an angry phone call from his immediate supervisor,

who worked out of JBS USA/Swift/Packerland’s central office in Greeley, Colorado.

       119.   After the call concluded, Witness 1 reports that he asked Mr. Hooker how “many

are we [Swift, Cactus] cutting [i.e., fabricating]?” Witness 1 reports that Mr. Hooker replied the

“cut” was going to be steady that day, but that the “kills are getting cut back, [because the]

price is getting too high” (or words to that effect).9



9
       Witness 1 reports that there was typically a lag between the commencement of a
slaughter reduction and the reduction of fabrication activities. Among other reasons, this
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         120.   Witness 1 recalls asking Mr. Hooker whether Swift Cactus’s competitor plants

were also cutting back their kill. Witness 1 reports he recalls that Mr. Hooker answered Witness

1’s question as follows: “Yes, they are. We have had that agreement that we don’t kill while

prices are up for a while” (or words to that effect).

         121.   Witness 1 is certain that Mr. Hooker intended to convey that all Operating

Defendants were reducing their slaughter volumes by agreement in response to high prices, and

was not simply commenting on the fact that one or some of the Operating Defendants had

independently decided to do so.

         122.   Witness 1 stated that Swift’s Cactus plant had a 5,500–6,000 head per day

slaughtering capacity and might drop its kill level back to around 4,800–5,200 head per day

when implementing Defendants’ agreement. When Swift implemented the Defendants’

agreement by buying and slaughtering fewer cattle, consequences included running its

slaughter plants at reduced hours, operating those plants at lower “chain speeds,” and/or

scheduling maintenance shutdowns. Witness 1 recalls management at Swift’s Cactus plant,

including Mr. Guerrero and Mr. Wagnon, telling staff during these periods of reduced slaughter

during the Conspiracy Period that kill levels were being reduced in response to fed cattle prices.

         123.   Meanwhile, Defendants coordinated and agreed to refrain from expanding their

slaughtering and processing capacity, thereby further restricting supply, as further described

below.



reflected the fact that Slaughter Plant 1’s fabrication team had to continue to process the
carcasses that were already hanging in the coolers.
                                                 36
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       B.     The Available Data Corroborates Witness 1’s Account

       124.   Public reports, Defendants’ slaughter data, and the cattle sales data in Plaintiffs’

possession, indicate that all Operating Defendants reduced and rationed their slaughter volumes

during the Conspiracy Period resulting in supracompetitive beef prices. Operating Defendants

also managed their respective slaughter volumes throughout the Conspiracy Period in relative

lockstep in order to ensure the supply of beef remained lower than the increasing demand.

Operating Defendants did so despite cattle being readily available and as Operating

Defendants’ margins ballooned.

       125.   The slaughter reductions, while most obvious at the beginning of each year,

occurred at various points throughout the Conspiracy Period. In particular, Operating

Defendants collectively moderated their slaughter volume across the second and third quarters

of most years in a successful attempt to expand their margins, across a number of months,

thereby also forestalling both the onset, and minimizing the effect of, the increase in slaughter

volume that historically occurs in the fall.

       126.   Operating Defendants’ joint slaughter management was not a reaction to changes

in beef demand, which, as admitted by Tyson Fresh’s head of procurement in 2018, had been

“off the charts.”10 See also Figure 11 below, demonstrating rising beef demand throughout



10
      Tyson Fresh Meats: What the Consumer Demands - John Gerber, VP, Cattle
Procurement, Tyson Foods; Kevin Hueser, VP, Beef Pricing, Tyson Foods, from the 2018
NIAA Antibiotic Symposium: New Science & Technology Tools for Antibiotic Stewardship,
November        13-15,       2018,       Overland        Park,      KS,        USA,
                                               37
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Conspiracy Period. Nor did any Operating Defendant break from the agreement and buy more

cattle in an attempt to capture greater market share, despite all posting profit margins clearly

demonstrating that no Operating Defendant was running at or near their marginal cost of

production. From the end of the first quarter of 2015 through the end of the Conspiracy Period,

Operating Defendants posted record per head net margins. Even excluding 2019 and 2020,

which saw Operating Defendants’ margins skyrocket in the aftermath of the Holcomb plant fire

and COVID disruption (discussed below), Operating Defendants average per head margins

across the Conspiracy Period for the first, second, third and fourth quarters vastly exceeded

their pre-Conspiracy Period averages ($37 v. $0, $127 v. $21, $134 v. $25, $116 v. -$16,

respectively).11

       127.   Operating Defendants’ rationing of the fed cattle supply amongst themselves in

parallel throughout the Conspiracy Period is demonstrated through Figure 1 below, which

records each Operating Defendant’s estimated quarterly slaughter volume:




https://www.youtube.com/watch?v=qCip3WBcqzo.
11
         Per-head net margin estimates cited in the Complaint sourced from the Sterling Profit
Tracker produced by Sterling Marketing Inc. and published weekly on www.drovers.com
unless stated otherwise. Pre-conspiracy period average per head margins calculated across 1997
to 2014.
                                              38
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        Figure 1. Operating Defendant’s Quarterly Fed Cattle Slaughter Volume 12




       128.   Figure 1 demonstrates that Tyson Fresh, Swift/Packerland, and National Beef

each dramatically reduced their slaughter across 2015, while Cargill held its slaughter volumes

steady following its 2014 cuts. These artificial reductions worked to cause the dramatic decline

12
        Tyson, JBS and National’s beef slaughter volume figures produced in Figure 1, were
derived from Packing Defendants’ (in the case of National Beef, its shareholders’) financial
disclosures and Cattle Buyers Weekly’s record of each Defendant’s fed cattle and non-fed
cattle slaughter ratio to isolate the portion of their reported quarterly revenue figures attributed
to beef and by-products produced from fed cattle slaughtered within the United States. Then,
the volume of fed cattle (and beef) necessary to generate the disclosed revenue was determined,
taking into account prevailing beef and by-product prices (as reported by USDA AMS boxed
beef cutout reports and USDA drop-credit values), carcass weights, carcass grading
performance (by region), and hot carcass/dressing percentages. Cargill’s quarterly slaughter
figures were derived by reference to Cargill’s market share over time.
                                                39
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in fed cattle prices starting in 2015 and continuing throughout the Conspiracy Period, while

beef prices were stabilized or increased.

       129.     And while the quarterly reporting period obscures certain shorter reductions

described below in Sections V. C-F, it does detail the remarkable extent to which Operating

Defendants’ quarter-to-quarter slaughter changes move in lockstep with each other. This

parallelism is consistent with and the product of an agreement to jointly manage and reduce

their slaughter levels below a competitive level.

       130.     Figure 1 highlights the parallel reductions made by Operating Defendants in the

winter/spring to constrain the seasonal rise in fed cattle prices historically experienced at this

time, which had the effect of raising beef prices to a supra-competitive level. Tyson Fresh,

Swift/Packerland, CMS, and National Beef each cut production at a similar time and by a

similar amount:

               Q1 2015 (except Cargill whose production was flat after making significant cuts
                in 2014)

               Q1 2016

               Q1 2017

               Q1 2018

               Q4 2019 and Q1 2020

       131.     This uniform reduction during periods of seasonally lower cattle availability is

not evident in the pre-Conspiracy Period. For example, in the fourth quarter of 2012, both CMS

and Swift/Packerland significantly increased their slaughter volumes (3.7% and 12.0%,


                                                40
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respectively on a quarter-on-quarter basis), while Tyson’s held its steady (0.1% increase), and

National Beef engaged in notable cuts (-4.0% decline). Similarly, in Q3 2013, Tyson Fresh and

National Beef increased their slaughter volumes, while Swift/Packerland and CMS reduced

theirs. Across Q2 to Q4 2014, Swift/Packerland evidently sought to capture market share, first

substantively increasing its slaughter volume in second quarter (16.3% increase against other

Defendants increases of between 4.8%-10.2%) before holding it steady across the third and

fourth quarters while each other Defendant’s volumes declined in those two quarters.

       132.    What is not apparent from Figure 1 is the deep nature of the cuts in 2015 and

2016 when comparing the same quarter to historic production (2012-2014). In 2015, the

production decreased in the year overall and each quarter. For 2016, the production decreased

overall and for 3 of 4 quarters. Tyson Fresh, Swift/Packerland, CMS, and National Beef’s

production was down comparing year-on-year changes against an average of 2012-2014 as seen

in Figure 7:




                                              41
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      133.    Operating Defendants' strategy was immediately successful, with lower slaughter

volumes and lower beef output resulting in artificially high beef prices, despite cash cattle

prices falling. Operating Defendants' meat margin expanded rapidly as a result.

      134.   Moreover, each Operating Defendants' conduct stands apart from Independent

Packers' who increased their annual slaughter volume in 2015 by 7.8% year-on-year.

      135.   And, though Operating Defendants gradually increased their slaughter volumes

over the rest of the Conspiracy Period, their rates of increase lagged far behind those of other

producers, as evidenced by the following Figure 2:




      136.   Figure 3 compares the annual slaughter volumes of Operating Defendants and

                                              42
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smaller producers before and during the Conspiracy Period and breaks out these volumes for

each year of the Conspiracy Period for which data is available. In every year, Operating

Defendants slaughtered fewer cattle than they did before the Conspiracy Period. Also shown is

that, though Operating Defendants gradually increased their slaughter volumes year over year

during the Conspiracy Period, their rates of increase lagged far behind other producers' rates.

                                       Figure 3.
              Average Pre- & Post-Conspiracy Period Fed Cattle Slaughter-
                            Operating Defendant vs. Others




       137.   As shown in Figures 2 and 3 above, each Operating Defendant slaughtered

significantly less cattle in 2015 than their pre-conspiracy period average, and then maintained

artificially low slaughter levels throughout the remainder of the Conspiracy Period. That

Operating Defendants each slowly raised their slaughter levels as the availability of fed cattle

increased during the Conspiracy Period only reinforces the likelihood of a collective agreement

to manage slaughter levels after their initial cut – fully five years later, none of the Operating


                                               43
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Defendants have returned to their pre-2015 levels despite record profitability, while

Independent Packers slaughter is up nearly 50% against their pre-Conspiracy Period average,

and 25% against their 2015 levels. The result of such action gave Operating Defendants the

ability to manage collective demand such that it never outpaced supply, and ensured the supply

of beef stayed below demand.

      C.     Operating Defendants Slash Production in 2015

      138.   The impact of the conspiracy was sudden and dramatic in 2015, evidenced by

publicly available data. Each Operating Defendant cut its annual cattle slaughter volumes

during the Conspiracy Period by an average of about 11.3 percent compared to the pre-

conspiracy period (2007-2014). In sharp contrast, other meatpackers increased their cumulative

annual slaughter volumes during the same period by an average of 41.2 percent.

      139.   Data breaking out slaughter volumes for each year of the Conspiracy Period

highlight Operating Defendants’ extreme reductions in 2015, though other beef producers

maintained or increased their volumes that same year. Despite a slight uptick in the final

quarter of 2015, Tyson Fresh’s overall 2015 slaughter volume was down by 4 percent as

compared with 2014 levels, Swift/Packerland by 17 percent, and National Beef by 6

percent. CMS’s 2015 production was flat compared with the prior year but 11.3% below

historical levels. All this occurred during a sustained recovery in the broader economy, as the

U.S. population grew steadily, and beef demand was high.

      140.   In the first quarter of 2015, Tyson Fresh, Swift/Packerland, and National Beef’s

year-on-year slaughter was down by approximately -1.8%, -11.2%, and -8.6%, respectively.

                                              44
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CMS’s quarterly slaughter volume was down against a 2012-2014 average and its first quarter

2015 slaughter volume, like its co-conspirators, was still down on its fourth quarter 2014

volume.

       141.   These declines were reflected in the Defendants’ public reporting. Tyson’s May

4, 2015 10-Q noted that its “sales volume decreased [in the quarter ending March 28, 2015,

year-on-year] due to a reduction in live cattle processed.” Jefferies, National Beef’s then

majority shareholder, noted in its 10-Q filed May 8, 2015, that National Beef’s revenues were

down year-on-year for the first quarter “primarily to lower sales volume, as fewer cattle were

processed.”13 JBS S.A.’s earnings presentation for the first quarter noted a 1.1% year-on-year

decline in the “number of animals processed” by its JBS USA beef unit.14

       142.   Expanding on their cuts, Tyson Fresh, Swift/Packerland, CMS, and National Beef

extended their joint slaughter reduction during the second and into the third quarters of 2015.

Across the second quarter, Tyson Fresh, Swift/Packerland, and National Beef’s year-on-year

slaughter was down by approximately -5.4%, -12.8%, and -6.2%, respectively. CMS continued

to hold to its low 2014 volume, posting an essentially flat year-on-year growth of 1.8% in the

13
        Jefferies 10-Q, May 8, 2015 at 57, http://ir.jefferies.com/reports-filings/sec- filings/sec-
filings-details/default.aspx?FilingId=10683755.
14
        JBS S.A., 1Q 2015 Results, May 13, 2015 at 15, https://mz-
filemanager.s3.amazonaws.com/043a77e1-0127-4502-bc5b-21427b991b22/central-de-
resultadoscentral-de-downloads/
8bc0bd99f655d7c38a18d265a7ed397678c5e9774341f1efd1c98745f1a8a360/ 1q15_earnings_
release.pdf. JBS USA Beef segment also encompasses JBS S.A.’s much smaller Australian and
Canadian beef businesses and Australian sheep operations. Presentation also noted a -1.1%
decline in cattle processing (both fed and non-fed) across its U.S., Australian and Canadian
beef businesses. JBS USA’s fed cattle to non-fed cattle slaughter ratio throughout the
conspiracy period was 80% fed, 20% non-fed.
                                                45
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second quarter, and -12.7% against its 2012-2014 average second quarter production.

       143.   Again, this reduction in cattle purchases was also reflected in Tyson Foods,15 JBS

S.A.,16 and Jefferies (National Beef’s)17 financial reporting.

       144.   Operating Defendants’ determination to break cash cattle prices through their

collective slaughter reductions and reduced cash cattle purchases was remarked upon by

industry analysts at the time. On June 12, 2015, analyst Cassandra Fish of “The Beef” and

formerly a risk manager at Tyson, speculated as to when one of the Operating Defendants

might break ranks:

        Rarely has this industry segment [the beef packers,] been an all-for-one and
        one-for-all group. All packers need to buy cattle inventory. Most have cut
        hours. So will someone break ranks, pay up for cattle and add hours to
        capture the better realization that the next boxed beef rally will bring? Will
        one short a customer only to find that order filled by a competitor?18

       145.   Ms. Fish answered her own question a few weeks later, remarking on June 25,

15
        Tyson’s 10-Q for its quarter ending June 27, 2015 recorded year-on-year declines in
sales in its beef segment revenue due to a “reduction in live cattle processed”. See Tyson Foods
10-Q filed August 2, 2015, p. 38. See also10-K filed November 23, 2015, p. 29 noting
reduction in sales revenue in FY 2015 as against FY 2014 due to lower cattle processing.
16
        JBS S.A., 2Q 2015 Results, August 13, 2015 at 15, https://mz-
filemanager.s3.amazonaws.com/043a77e1-0127-4502-bc5b-21427b991b22/central-de-
resultadoscentral-de-
downloads/02fd1b6f7f1cee632e5af617767bc7a98017ead954465d63d1e8633b2ec5a3cd/2
q15_earnings_release.pdf (noting -0.9% decline in cattle processing (both fed and non- fed)
across its US, Australian and Canadian beef businesses).
17
        Jefferies 10-Q, August 5, 2015 at 52, http://d18rn0p25nwr6d.cloudfront.net/CIK-
0000096223/6f776d2a-f247-4868-a18b-32f9e3b4eefe.html (noting revenues for three and six
month 2015 periods decreased year-on-year “primarily due to lower sales volume, as fewer
cattle were processed”.); Jefferies 10-Q, November 5, 2015 at 53 (noting the same in relation to
3Q 2015 and first three quarters of 2015).
18
        Cassandra Fish, Futures Holding Gains; Waiting on Cash, THE BEEF (Jun. 11, 2015),
https://www.thebeefread.com/2015/06/11/futures-holding-gains-waiting-on-cash/.
                                                46
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2015 that the “packers refuse to reach for cattle and are currently in command. After 3 weeks of

sharply curtailed kills, packers are exhibiting incredible discipline and letting the kill increase

gradually,” limiting the ability “of feeders to get all cattle marketed [i.e., sold] in a timely

fashion.”19

       146.   During the remainder of 2015, Operating Defendants continued to restrain their

slaughter levels and curtail their purchases of cash cattle even after it became clear that

slaughter-ready cattle had been “backed up.”20 They did so even though under-utilizing their

plants would hurt their margins.

       147.   Tyson’s CEO, Donnie Smith, admitted as much on August 3, 2015, when

discussing Tyson’s decreased purchases over the preceding quarter, noting “[b]ecause we run

for margin and not for market share, we’re not willing to overpay for cattle and we’ve had to

cut back on our hours at our plants resulting in inefficiencies and added costs. In the short-term,

we are negatively impacted, but markets will equilibrate and conditions are expected to

improve for the long term.”21 In response to a question regarding the consequent impact of

Tyson’s underutilization of its plant capacity, Mr. Smith elaborated:

        In terms of quantifying the impact, we know when we’re running 34s and
        36s a week in our plants that that does cost us. It raises the cost in our plant,
        makes us a lot less efficient, so it does have a cost to us. I don't know that I
        can quantify that right off the bat, but it does impact margin.22


19
        Cassandra Fish, Another Round of the Blues, THE BEEF (Jun. 25, 2015),
https://www.thebeefread.com/2015/06/25/another-round-of-the-blues/.
20
        Cassandra Fish, Kills Too Small For Too Long, THE BEEF (Sep. 8, 2015),
https://www.thebeefread.com/2015/09/08/kills-too-small-for-too-long/.
21
        Tyson Foods, Q3 2015 Earnings Call, Seeking Alpha Transcript (Aug. 15, 2015).
22
        Id.
                                                47
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       148.   Tyson Fresh, Swift/Packerland, CMS, and National Beef’s concerted actions to

depress cattle prices across 2015 (and their successes) are summarized by the below chart.

Figure 8 compares the price of fed cattle across 2015 against the number of fed cattle

slaughtered across 2014 and 2015 at packing plants subject to AMS LMR reporting

obligations.23 These figures are a very good proxy for Tyson Fresh, Swift/Packerland, CMS,

and National Beef’s cumulative slaughter volume as they operate the substantial majority of

such plants and appear to provide over 90% of the reported transactions. 24 As demonstrated in

Figure 8 below, the 2015 slaughter volumes are lower than 2014 in every month except

February and November and lower than 2010- 2014 averages in every month except October.

                                      Figure 8.
     Total Fed Cattle Slaughter Volumes and Fed Cattle Prices – all purchase types




23
       Figure 8 was prepared using USDA Market News Service Reports: LM_CT106-
National direct slaughter, committed and delivered, LM_CT151-National Weekly- Formula,
Forward, Negotiated Net (Domestic), and LM_CT154-Weekly National direct slaughter,
negotiated. Fed cattle prices shown in Figure 8 is the weighted average price of all four
purchase categories (formula, forward, negotiated (i.e., cash), negotiated grid).
24
       See Exhibit 1.
                                             48
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      D.     Operating Defendants Continued to Artificially Limit Supply Into 2016.

      149.   By “ration[ing] their new purchases [of cattle]” and running shorter 32-hour

weeks in early January, Operating Defendants dampened rising cattle prices and extended the

rally in beef prices.25 Operating Defendants then further inflated beef prices by sustaining low

kills across February and March.26

      150.   Tyson Fresh, Swift/Packerland, CMS, and National Beef reduced their slaughter

volumes in the first quarter of 2016: Tyson Fresh (-0.7%), CMS (-3.3%), Swift/Packerland (-

16.3%), National Beef (-4.4%). Moreover, all Operating Defendants slaughtered fewer cattle

than their average first quarter volume across 2012-2014: Tyson Fresh (-4.5%),

Swift/Packerland (-21.7%), CMS (-9.3%), and National Beef (-14.9%).

      151.   As a result, beef prices continued to skyrocket into March 2016, despite

significantly lower than expected cattle prices. By rationing the available cattle amongst

themselves, Operating Defendants posted average weekly margins of approximately $63 per

head, which was, at that time, one of their “best Q1 in history” and well above their pre-

Conspiracy Period first quarter average of $0 per head.27

      152.   In the second and third quarters, each Operating Defendant’s kill volume

remained below their 2012 to 2014 averages.

      153.   Despite an increase in the availability of fed cattle, except for Cargill, each

25
        Cassandra Fish, Global Sell Off Smacks Cattle, THE BEEF (Jan. 4, 2016),
https://www.thebeefread.com/2016/01/04/global-sell-off-smacks-cattle/.
26
        Cassandra Fish, Yet More Consolidation, THE BEEF (Jan. 6, 2016), https://
www.thebeefread.com/2016/01/06/yet-more-consolidation/.
27
        Cassandra Fish, This Week’s Cash Trade, THE BEEF (Mar. 22, 2016),
https://www.thebeefread.com/2016/03/22/sell-off-accelerates/.
                                               49
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Operating Defendant’s annual slaughter volume in 2016 remained below their 2014 levels

(Tyson Fresh (-6%) and Swift/Packerland (-6%)) or flat (National Beef).28 Cargill’s 2016

slaughter remained significantly below the 2012-2014 average at -3.7%.

       154.   Each Operating Defendant’s refusal to break from their collective adherence to

rationing the available cattle supply is all the more remarkable given the margins on offer to

Operating Defendants across 2016. In the third and fourth quarter alone, Operating Defendants

were realizing average per head margins on their fed cattle purchases of $123 and $153 per

head. Not only were these margins significantly above pre-Conspiracy Period averages ($25

and -$16 per head), but they also exceeded the Operating Defendants’ most profitable third and

fourth quarters in modern times by about $30 and $100 per head, respectively. Operating

Defendants therefore had both the incentive and the ability to buy and slaughter more cattle.

       E.     After Historic Cuts, Operating Defendants Continued to Keep Supply
              Restrained, Resulting in Higher Beef Prices and 2017 and 2018

       155.   Going into 2017, Operating Defendants worked to ensure that any increase in

their collective slaughter volumes did not outpace the growth in slaughter weight cattle

availability and beef demand. Tyson, Swift/Packerland, CMS, and National Beef each reduced

their volumes in lockstep during the first quarter, before raising them together across the second

quarter. See Figure 1.


       156.   And while cattle prices did rise from $119/cwt at the beginning of February to a

high of $144/cwt in first week of May (similar to pre-Conspiracy Period spring highs),

28
  2018 Meat & Poultry Facts, 47th Ed., NORTH AMERICAN MEAT INSTITUTE, 2019, at
11.
                                               50
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Operating Defendants responded by reducing their kills.

       157.   As with 2016, Operating Defendants enjoyed substantial profits across 2017,

posting then record per-head margins in the second and third quarters ($128 and $147 per head,

respectively). Indeed, Operating Defendants’ average per head margins for the first and fourth

quarter, $42 and $88 per head, respectively, stood second only to the quarterly profits they

generated in 2016. And again, each Operating Defendant refused to add cattle to expand their

market share despite the obvious profit potential. Instead, they kept their production in lockstep

with one another, rationing supply amongst themselves to ensure the continued suppression of

cattle prices and resulting increase in beef prices.

       158.   Their scheme continued into 2018. Each Operating Defendant then began to tell

the market that they had, as a result of the plant closures discussed, insufficient capacity to

slaughter the supposed “wall of cattle” due to reach slaughter-weight in the spring and summer

of 2018.29 Operating Defendants then backed off their respective kill schedules during the first

quarter of 2018.30 See Figure 1, detailing significant decline in first quarter 2018 slaughter as

against fourth quarter 2017. As Ms. Fish reported, “Looking back at March’s fed slaughter rate,

it underperformed expectations. . . . Packers appear to have responded to the tight supply of

market-ready cattle in the north by keeping the kill constrained and margins profitable and
29
        Cassandra      Fish,     Still     Green!?!,      THE     BEEF      (Mar. 27,     2018),
https://www.thebeefread.com/2018/03/27/still-green/ (“The [packers’] mechanical [slaughter]
capacity exceeds needs [across Q2 2018]. The limitation perception is linked to labor. The
perception of there being a limitation has created fear and inspired some cattle feeders to “get
in line” by selling [cattle] out-front [i.e., on captive supply agreements].”).
30
        Cassandra Fish, Futures Trade Both Sides; Cash Poised To Trade Lower, THE BEEF
(Apr. 2, 2018), https://www.thebeefread.com/2018/04/02/futures-trade-both-sides-cash-
poised-to-trade-lower/. .
                                                 51
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stable.” The reduction in slaughter occurred despite record strong beef demand and Operating

Defendants’ under-utilized capacity.

       159.   As a result of their commitment to rationing the available cattle amongst

themselves, across 2017 and 2018 Tyson Fresh, Swift/Packerland, CMS, and National Beef’s

annual slaughter volumes remained 5.4-7.2%, 10.2%, 9.1% and 12.0-12.8% below their pre-

Conspiracy Period averages, respectively. See Figure 7. By contrast Independent Packers

slaughter volume across 2017 and 2018 were up 46.5% and 56.1%, respectively, on their

collective pre-Conspiracy Period averages.

       F.     In 2019 and 2020, Operating Defendants Continued Parallel Slaughter,
              Which Was Against Each Defendant’s Independent Self-Interest

       160.   Going into 2019, beef demand remained “terrific”, encouraging packers to run

plants to meet customers’ demand.31 In ordinary times, absent a conspiracy, Operating

Defendants would compete to secure as much cattle as possible to supply beef customers.

       161.   Instead, Operating Defendants continued to work together to constrain and limit

the advance in cattle prices that market conditions warranted. In the first quarter of 2019, each

Operating Defendant reduced their slaughter volumes, posting similar quarter on-quarter

declines: Tyson Fresh (-2.4%), National Beef (-4.0%), CMS (-6.6%), and Swift/Packerland (-

7.4%). Operating Defendants each maintained comparably lighter slaughter volumes across the

first three months of 2019, ensuring that their collective demand did not exceed the available


31
        Cassandra Fish, How About That, THE BEEF (Feb. 11, 2019),
https://www.thebeefread.com/2019/02/11/how-about-that-3/ (“Rather obviously, beef demand
is terrific. Even in February, notoriously a slow beef demand month. Packer margins are
record wide for February.”).
                                               52
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supply. These supply restraints included taking downtime or reducing the number of hours the

plant operates. Operating Defendants continued to constrain their weekly kill volume and

decline to increase production of beef to meet rising demand, thereby artificially inflating the

price of beef. 32

       162.    The resulting impact of Operating Defendants’ slaughter restraint at the beginning

of 2019 and their continued adherence to a common pricing strategy was that beef prices

increased, despite the fact that prices for cattle continued to fall across the summer, working

their way to an apparent bottom of about $109-110/cwt in the end of June. This left producers

facing an average $106 per head loss, against Operating Defendants startling estimated per

head profit of $257.33

       163.    Despite robust beef demand, Defendants’ restrained production left wholesale

beef prices higher on a year-on-year basis, despite the fact fed cattle prices were flat. Ms. Fish

reported beef prices were “sizzling” despite most cattle producers losing money.34

       164.    A slight $2-3/cwt rise in prices allowed producers to realize a paltry per head

profit of about $24 by the week ending August 9, 2020, against the Operating Defendants’

profit of $192 per head.

       165.    Notwithstanding the predicted cash cattle strength across August, a chance fire at

32
        See, e.g., Cassandra Fish, And the Beat Goes On, THE BEEF (Feb. 14, 2019),
https://www.thebeefread.com/2019/02/14/and-the-beat-goes-on-2/.
33
   Sterling Beef Profit Tracker: week ending June 21, 2019, STERLING MARKETING INC.
(June 26, 2019), https://www.drovers.com/news/industry/profit-tracker-feeding- losses-reach-
triple-digits.
34
        Cassandra Fish, Packers Press and Cash Softens, THE BEEF (August 9,
2019), https://www.thebeefread.com/2019/08/09/packers-press-and-cash-softens/.
                                               53
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Tyson’s Holcomb, Kansas slaughter and processing plant on August 9, 2019 provided an

opportunity for Operating Defendants to work cattle prices lower still, sending cattle producers

back into the red. Tyson closed the Holcomb plant indefinitely in the aftermath of the fire.35

       166.   However, following the plant fire, Tyson Fresh, Swift/Packerland, CMS, and

National Beef all slashed their fed cattle bids and hiked their beef prices. These actions caused

a $5/cwt drop in fed cattle prices and a $14/cwt rise in wholesale beef prices the following

trading week.36 This saw Operating Defendants’ per head margins rise from $191 to $358 in the

week ending August 16. The following week, Operating Defendants’ margins continued to

expand, with the spread between fed cattle prices and beef values extending to a then-record

high of $67.17/cwt., $39.51/cwt above the average spread for the same week across 2016-2018.

       167.   Defendants blamed the loss of Holcomb’s 5,500-6,000 head per day slaughter

capacity for these price changes. In a competitive market and with record profits, the other

Operating Defendants would have wanted to increase their purchases of cattle and increase

their slaughter numbers to both taken advantage of the high prices, and to take market share

from the industry leader Tyson.

       168.   Instead, in the month following the Holcomb fire, each Operating Defendant
35
       Over 3,800 workers at Tyson Foods beef plant in Kansas out of work after fire,
REUTERS (Aug. 11, 2019, 1:30 PM), https://www.reuters.com/article/us-tyson-foods-
fire/over-3800-workers-at-tyson-foods-beef-plant-in-kansas-out-of-work-after-fire-
idUSKCN1V10J1?source=content_type%3Areact%7Cfirst_level_url%3Anews%7Csection%3
Amain_content%7Cbutton%3Abody_link.
36
       Sterling Beef Profit Tracker: week ending August 16, 2019, STERLING MARKETING
INC.        (August       20,      2019),      https://cdn.farmjournal.com/s3fs-public/inline-
files/Beef%20Tracker%2081919.pdf. Live cattle futures contracts were also negatively
impacted, with the market responding with two limit-down trading days on September 12 and
13, 2019.
                                               54
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decreased its production. The parallel and coordinated decrease in production in the face of a

large supply restraint cannot be explained by legitimate reasons, but instead demonstrates the

commitment by the Operating Defendants to maintain high margins and keep cattle slaughter

restricted. Operating Defendants’ purchase and kill reductions in the aftermath of the Holcomb

fire ensured that their collective supply remained constrained, giving the Operating Defendants

the power to increase beef prices, while paying less for the cattle.

       169.   Tyson Fresh, Swift/Packerland, CMS, and National Beef consequently reaped

record high margins in the weeks that followed the Holcomb fire by stepping down fed cattle

prices and raising beef prices in parallel. As cattle prices bottomed out in the week ending

September 13, 2019, the spread between Operating Defendants and Cattle Ranchers per head

margin exceeded $600, with packers making over $400 per head while producers sustained

$200 per head losses.37

       G.     Defendants Idled and Closed Plants, Refrained from Expanding Processing
              Capacity

       170.   The conspiracy also entailed a longer-term strategy to restrict beef supplies.

       171.   Operating Defendants agreed to permanently close processing facilities without

replacing most of the lost capacity. These actions came on the heels of reduced production

capacity already caused by a series of plant closures shortly before the Conspiracy Period,

including these:

               a.      On January 17, 2013, Cargill Inc. announced it would shut down its

37
       Sterling Beef Profit Tracker: week ending September 13, 2019, STERLING
MARKETING INC. (September 18, 2019), https://cdn.farmjournal.com/s3fs-public/inline-
files/Beef%20Tracker%2081919.pdf.
                                                55
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                     Plainview, Texas, beef-processing facility, one of Cargill’s larger
                     plants, in just two weeks. This closure cut Cargills’s slaughter
                     capacity by 4,650 cattle per day, which was “nearly 4% of the U.S.
                     beef industry current capacity.”38

              b.     In April 2013, JBS USA followed by acquiring an inactive plant in
                     Nampa, Idaho, only to keep it idle. JBS stated that it had “no
                     immediate plans to reopen the facility,” which would have been
                     capable of processing about 1,100 cattle per day, and, upon
                     information and belief, it remains idle today.39

              c.     In June 2014, National Beef closed its Brawley, California, plant.
                     This eliminated another 2,000 cattle per day of slaughter capacity.40

              d.     The next month, Cargill Inc. announced it would also close its
                     Milwaukee, Wisconsin, plant on August 1, 2014. This closure
                     decreased the industry’s slaughter capacity by another 1,300 to 1,400
                     cattle per day.

              e.     Also in 2014, Tyson Foods shut down its Cherokee, Iowa,
                     processing plant. Tyson Foods officials “told the city they would
                     consider handing over the shuttered plant—but not to any firm that
                     they believe is competition.”41 In 2018, Tyson Foods allowed
                     another company to purchase the plant but only after inserting a
                     requirement into the deed that “limited the amount of cattle that can
                     be processed at the plant for the next 10 years.”42

      172.   Operating Defendants continued to shrink the beef industry’s processing capacity
38
        Apr. 3, 2013, Votorantim Equity Research Report on JBS.
39
        JBS USA Acquires U.S. Operations of XL Foods, JBS April 4, 2013 Press Release,
https://jbssa.com/about/news/2013/04-04/#.X-eami2ZPow .
40
          National Beef even rejected a significant package of incentives offered by local
government utilities and nearby feedlots when it decided to close its Brawley plant. “National
Beef plant closing Brawley Facility,” PROGRESSIVE CATTLEMEN (Mar. 24, 2014),
https://www.progressivecattle.com/news/industry-news/national-beef- plantclosing-brawley-
facility.
41
        Available         at       https://www.desmoinesregister.com/story/money/business/
2016/07/08/held-hostage-tyson-iowa-towns-dilemma/86449400/.
42
          Available       at       https://www.desmoinesregister.com/story/money/business/
2018/09/19/tyson-foods-cherokee-iowa-plant-iowa-food-group-moves-justin-robinson- pork-
beef-chicken-processing/1356962002/.
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when the Conspiracy Period began:

               a.     On September 11, 2015, Cargill Inc. announced it would sell the
                      Plainview, Texas, plant that it idled in February 2013.

               b.     In August 2015, Tyson Food decreased the industry’s slaughter
                      capacity by another 2,000 cattle per day by shuttering its Denison,
                      Iowa plant.

       173.   By idling these plants, Operating Defendants slashed the industry’s annual

slaughter capacity by some two million cattle per year—excluding JBS USA’s continued idling

of the Nampa, Idaho plant.

       174.   While overall industry slaughter capacity increased slightly between 2015 and

2018, this nominal gain was primarily not the work of any Operating Defendant. Instead, it was

attributable to other beef-processing companies. For example, One World Beef Packing

restored about 2,000 cattle per day by reopening the Brawley, California plant closed by

National Beef in 2014.

       175.   In sharp contrast to the Operating Defendants’ behavior, these other beef

processing companies acted consistent with their competitive interests by increasing their

capacity and output in response to increased demand for beef, but their increased efforts to

supply the downstream market with beef had little effect on the prices due to their nominal

market share. Operating Defendants’ market dominance and stranglehold on the industry meant

that these minor incursions by the few remaining independent processors increased availability

only in isolated pockets and had negligible effect on restoring supply (and thereby reducing

beef prices) in most locations.


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      H.     Operating Defendants Signaled Their Conspiracy and Encouraged Each
             Other to Maintain it

      176.   One method that Operating Defendants used to coordinate, promote, and monitor

their conspiracy (evident now only with the benefit of hindsight afforded by the disclosure of

other now-apparent conspiratorial evidence) was to signal and discuss with each other their

activities and plans during earnings calls. Examples of some communications include the

following:

              •      During a May 2014 earnings call, JBS S.A. offered this industry
                     forecast: “For 2015, I think beef will keep being tight. I don’t see
                     any big – an increase in beef supply in 2015.”

              •      During a May 2014 Q4 earnings call, Tyson Foods communicated
                     that it was striving for margin and not market share: “For FY15, we
                     expect fed cattle supply to be down 5% to 6% from last year, and we
                     think we've experienced the bottom of the beef supply cycle. After
                     this year, we believe we'll see slow incremental improvement in
                     supply. Our beef segment results should improve in the back half of
                     the year, and while profitable for the year, FY15 results are expected
                     to be below FY14. It is important to remember that we'll continue to
                     run our beef business for margin, not market share.”

              •      During Tyson Food’s Q4 2015 earnings call, Mr. Smith further
                     acknowledged that “You’ve got relatively low cattle supply, you’ve
                     got too much -- well, I should not say too much, that’s probably not
                     the right way to say it, but you’ve got excess industry capacity and
                     that limits our ability to drive margins above the 1.5% to 3%, we
                     think.”

              •      On Tyson Foods’s August 3, 2015, Q3 earnings call, its CEO
                     Donnie Smith admitted it was underutilizing its plants, despite
                     hurting its margins. when discussing Tyson’s decreased purchases
                     over the preceding quarter, noting “[b]ecause we run for margin and
                     not for market share, we’re not willing to overpay for cattle and
                     we’ve had to cut back on our hours at our plants resulting in
                     inefficiencies and added costs. In the short-term, we are negatively
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                     impacted, but markets will equilibrate and conditions are expected to
                     improve for the long term.” He also admitted that “industry capacity
                     utilization [was] probably in the low 70s.” In response to a question
                     regarding the consequent impact of Tyson’s underutilization of its
                     plant capacity Mr. Smith elaborated: “In terms of quantifying the
                     impact, we know when we're running 34s and 36s a week in our
                     plants that that does cost us. It raises the cost in our plant, makes us
                     a lot less efficient, so it does have a cost to us. I don't know that I
                     can quantify that right off the bat, but it does impact margin.”

               •     On its November 12, 2015, Q3 earnings call, JBS USA’s CEO
                     Andre Nogueira de Souza publicly praised Defendants’ efforts to
                     reduce industrywide slaughter capacity through plant closures,
                     remarking that “the reduction that we saw in the cutbacks of
                     production in U.S. ........that was with the shutdown of nine plants
                     the last two years reduced the cattle. (inaudible) cost us [$3.5
                     million]. I think that will be a very good position balancing the
                     industry in 2016, 2017 and 2018.”

               •     On a May 2016 JBS S.A. Q1 earnings call, JBS USA’s CEO Mr.
                     Nogueira de Souza described the company’s supply strategy: “So I
                     don’t see any imbalance in this near future, even cattle is coming
                     back and we’re going to see a little bit more production of beef this
                     year and next year. It’s still way, way below how it was few years
                     ago and we’ll be balancing at this side because a lot of plant was shut
                     but it’s too way below our historical production level.”

               •     On its November 2016, Q4 earnings call, Tyson Foods acknowledged
                     the widening of the meat margin: “The dynamic is that the livestock
                     prices have not come – they've come down faster than the retail
                     prices have, which has allowed us to make the margins that we have
                     right now in both beef…. ”

      I.     Parallel Reductions in Cash Cattle Purchases and Anticompetitive Queuing
             Conventions

      177.   Operating Defendants procure their fed cattle in three ways: on the cash cattle

trade market (the industry’s version of the spot market), through formula or forward contracts,

and, for Swift/Packerland and CMS, relying on their own cattle. Through these contracts, the

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producer agrees to deliver its cattle once they have reached slaughter weight at a price to be

determined at the time of delivery.

       178.   To increase their meat margin, Operating Defendants jointly managed their

purchases of domestic fed cash cattle in parallel below the available supply, including by

reducing the number and volume of purchases. Operating Defendants took advantage of the

supply glut of fed cattle and lower cash cattle prices and increased their meat margin. Operating

Defendants expanded their meat margin by refusing to pass-on the savings from the reduced

cattle prices to purchasers of beef, which would normally happen in a competitive market.

Instead, beef prices remained high while prices to cattle producers decreased, indicating a

collusive agreement between Operating Defendants.

       179.   In addition to Operating Defendants’ reduced cash cattle purchases, each

employed an antiquated “queuing convention” throughout the Conspiracy Period which served

to limit producers’ ability to generate price competition for their cattle.

       180.   The convention, which operated predominately in relation to those cattle sold in

the cash market, works as follows: once a producer receives a bid from a Packer, the producer

may either accept the bid or pass on it, but may not “shop” that bid to other packers, i.e. require

competition for the bidding process. If another Packer offers the same bid as the original

bidding Packer, the producer must give the original Packer the right of first refusal.

       181.   The obligation to give a right of first refusal without consideration was

collectively imposed by Operating Defendants under threat of boycott. Operating Defendants

have adhered to and enforced the convention for decades, including across the Conspiracy

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Period, and treat it as a mandatory industry custom.

       182.      One former feedlot manager, Matt T. (“Witness 2”), confirmed that the field

buyers from Tyson Fresh (Brian Alsup), Swift (Levi Canales, and prior to him, Chad Miller),

CMS (Rick Vogel, and prior to him, Steve Brown), and National Beef (Richard Duffy) who

visited his feedlot enforced strict adherence to this convention with threats of retaliation. In

particular, each of these field buyers individually spoke to him about the importance of his

feedlot complying with the convention, and that they would not “come by” anymore should he

break with it.

       183.      Witness 2 further reports that, when he took over management of the feedlot in

2012, the feedlot would only receive bids from National Beef and CMS. When he subsequently

spoke to the field buyers from Tyson Fresh (Mr. Alsup) and Swift (Mr. Miller) responsible

for his region in the fall of 2012, they both told him that they had stopped visiting the feedlot

because Witness 2’s predecessor had broken with the convention by “shopping” their bids.

Witness 2 reports that the Tyson Fresh and Swift field buyers re-commenced visiting the

feedlot after he confirmed his commitment to following the convention.

       184.      Witness 2 also heard from the Operating Defendants’ field buyers and other

industry participants about other producers being “blackballed” for breaking with the queuing

convention. In those circumstances, Witness 2 understood that the Operating Defendant who

was “on the cattle” would be tipped off as to the producer’s “breach” of the convention by the

field buyer whom the producer contacted while shopping the Operating Defendant’s bid, or

would pressure the producer for details of its sale.

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       185.   As evidenced by the expanding meat margin, Operating Defendants collectively

refused to pass-on any savings from the anticompetitive conduct toward the cattle producers to

Plaintiffs, instead keeping the ill-gotten gains for themselves.

VI.    EFFECTS OF DEFENDANTS’ ANTITRUST VIOLATIONS

       A.     Defendants’ Conspiracy Increased the Spread Between Cattle and Beef
              Prices

       186.   Droughts from 2011 through 2013 caused fed cattle prices to steadily increase.

Predictably, wholesale prices of beef moved in tandem, maintaining a constant relationship (or

margin) between the two. As a result, Operating Defendants’ profits on average were trimmed

to margins of only 1 to 3 percent.

       187.   The DOJ has recognized that when the beef market is functioning competitively,

a strong relationship exists between the supply of cattle and the price of beef charged to direct

purchasers:

        [A]ll else being equal, when the meat packing industry reduces production
        levels, feedlots and cattle producers are paid less for fed cattle because
        fewer fed cattle are demanded and customers pay more for [beef] because
        less is available for purchase. Because the supply of fed cattle and demand
        for [beef] are relatively insensitive to short-term changes in price, even
        small changes in industry production levels can significantly affect packer
        profits.43

       188.   Thus, in a competitive market, lower wholesale beef prices naturally follow lower

cattle prices. Once the conspiracy took hold, the spread between cattle and beef prices grew

significantly. Operating Defendants’ restriction of the beef supply caused cattle prices to slump,

while Operating Defendants charged direct purchasers for beef at elevated prices that would not

43
       U.S. v. JBS, Amended Complaint, ¶¶ 26-27.
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have existed in the market but for Operating Defendants’ artificial supply restraints.

       189.   Figure 4 is a graph constructed from published USDA data. It captures the steep

climb of the spread during the Conspiracy Period, which began after a period of very minimal

growth from 2012 to 2015:




       190.   According to USDA Economic Research Service data, the average spread

between the average farm value of cattle and wholesale value of beef was substantially higher

from January 2015 to present than during the preceding five years. From 2010 to 2014, the

average farm-to-wholesale spread was about $34. But from 2015 to 2018, the average spread

was about $54—a 59% increase. The spread continued to balloon, by 2020 reaching about $71,

a 109% increase from the pre-conspiracy period average.

       191.   Operating Defendants’ ability to cut beef production while maintaining inflated
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beef prices during the Conspiracy Period provides compelling circumstantial evidence of their

conspiracy. In a beef market free from collusion, if a competitor reduces its purchase of cattle,

other competitors quickly pick up the slack to boost their sales and increase their market shares.

       B.     Tyson Foods and, Jointly, JBS S.A. and JBS USA Falsely Claimed Their
              Record Profits Were Due to Market Prescience, Not Supply Constraints

       192.   Throughout 2017 and 2018, on earnings conference calls, executives from JBS

S.A. and Tyson Foods frequently attributed their historically high profits to their ability to

accurately foresee the volume of cattle that would enter the beef supply chain in the upcoming

years. Examples of these boasts include the following:

                    On a Q3 2017 earnings call on August 7, 2017, Tyson Foods
                     reported a beef-business operating margin of 3.7 percent for the third
                     quarter and emphasized its confidence in the beef business going
                     forward: “With ample supplies of cattle, we see very good conditions
                     for our beef business as far out as 2020, as we enter the early stages
                     of a multiyear expansion cycle. Absent a shock to the system such as
                     a drought or an import ban, our beef business is well- positioned for
                     profitable, long-term growth.” Tyson acknowledged that it was
                     considering raising its previously forecasted 1.5–3 percent
                     normalized operating margins. But despite ample supply of cattle and
                     high demand for beef, Defendants did not increase cattle purchases
                     or cattle slaughter.

                    On a Q2 2018 earnings call on May 7, 2018, Tyson Foods announced
                     forecasted beef operating margins of 6 percent for the year—at least
                     twice its normalized operating margin range of 1.5– 3 percent. Tyson
                     claimed the huge jump was attributable to “those cattle on feed
                     reports and knowing that the supplies in our region are exceptionally
                     good.”

                     On JBS S.A.’s Q1 2018 earnings call on May 15, 2018, JBS S.A.
                      reported an EBITDA margin of 6.1 percent for the quarter and
                      forecasted that the company would enjoy record beef margins for the
                      next two quarters. JBS USA’s CEO and President Andre Nogueira
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                      emphasized that its performance was not based on “taking share from
                      anyone.”

                     On a Q3 2018 earnings call on August 6, 2018, Tyson Foods
                      reported a beef operating margin of 8 percent for the quarter. Tyson
                      Foods stated that it had an “optimistic outlook” because “we have
                      good visibility into 2021 . . . that’s good because we do see the
                      number of animals that are out there.”

                     On a Q2 2018 earnings call on August 15, 2019, JBS S.A. reported a
                      beef EBITDA margin of 10.2 percent for the quarter. JBS USA’s
                      CEO and President Andre Noguiera stated that it was “moving the
                      overall margin in beef [to] a different level that was in the past.” JBS
                      added that it benefitted from shutting several plants in the previous
                      five years, and that it could not see how U.S. beef could “be less
                      profitable in 2019 compare [sic] how it is going to perform in 2018.”

                     On a Q4 2018 earnings call on November 13, 2018, Tyson Foods
                      reported record beef operating margins of 8.9 percent for the quarter
                      and 6.7 percent for the year and stated that it expected similar results
                      in the following years thanks to visibility into cattle supply: “As we
                      look at 2019, 2020, even in 2021 we frankly we don’t see a lot of
                      change. The supply appears to be relatively stable. We have a good
                      sense of what that looks like just due to the calf crop that gives us
                      good visibility for at least a couple of years.”

VII.   ADDITIONAL PLUS FACTORS ENCOURAGING THE REASONABLE
       INFERENCE OF DEFENDANTS’ CONSPIRACY

       193.   The beef meatpacking industry bears all the characteristics of a highly cartelized

market: (1) producer concentration; (2) high barriers to entry; (3) commodity product; (4)

inelastic demand; (5) opportunities to collude; (6) reduction of imports; (7) market share

stability; and (8) production and capacity cuts in the face of increasing demand for beef. These

characteristics supported Operating Defendants’ collusion to constrain the number of cattle

entering the supply chain, reduce and restrain the volume of processed beef sold, raise and fix

the wholesale price of beef, and maximize Operating Defendants’ margins.
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       A.      The Beef Market Is Highly Concentrated

       194.   Market concentration facilitates collusion. Conspiracies are easier to organize and

sustain when only a few firms control a large share of the market. Practical matters, such as

coordinating cartel meetings and exchanging information, are much simpler with a small

number of players.

       195.   A high degree of Operating Defendants’ control simplifies coordination because

little outside competitive presence exists to undermine the cartel, and Operating Defendants can

more easily monitor each other’s actions related to supply and pricing.

       196.   In a highly concentrated market, higher, long-term profits secured by the cartel’s

artificially elevated prices outweigh transitory gains in profits and market share that producers

might achieved by undercutting their cartel price.

       197.   The beef industry experienced significant consolidation leading up to and during

the Conspiracy Period. In 2001, Tyson Foods purchased IBP, Inc., then the nation’s largest beef

packer. In 2002, Cargill, Inc. purchased Taylor Packing Co. In 2007 and 2008, JBS USA

acquired Swift & Co. and Smithfield Beef Group, Inc., the third- and fifth-largest U.S. beef

packers.

       198.   Through these purchases, Operating Defendants collectively controlled about 81–

85 percent of the cattle slaughter market throughout the Conspiracy Period, while the next

largest meatpacker had only a 2–3 percent market share. Operating Defendants’ control of the

market enabled the conspiracy to launch in 2015 and prosper ever since.



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      B.       The Beef Market Has High Barriers To Entry

      199.   Barriers to entry are obstacles that prevent new competitors from easily entering a

market. They restrict competition in a market and make it easier for incumbents to collude.

      200.   A collusive arrangement that raises product prices above competitive levels

would, under basic economic principles, attract new entrants seeking to benefit from the profits

to be reaped from supracompetitive pricing. But where significant barriers to entry exist, new

entrants are less likely to enter the market. Thus, barriers to entry help to facilitate the

formation and maintenance of a cartel.

      201.   Barriers to entry kept would-be competitors out of the beef-packing industry. The

construction of a large packing plant requires an investment of at least $250 million. It

normally takes two years or longer to obtain the necessary permits and plan, design, and build

the facility. And new entrants must also comply with numerous regulations, recruit and train a

large workforce, and develop and execute a successful marketing plan.

      202.   These barriers have caused new entrants to file for bankruptcy shortly after

attempting to enter the market. These casualties include substantial enterprises such as Northern

Beef Packers, LP, and Sam Kane Beef Processing, LLC.44 Relative insulation from the threat of

new competitors has enabled Operating Defendants to maintain their conspiracy.




44
       Northern Beef Packers LP filed under Chapter 11 in July 2013 and ceased operations
before selling off its assets in December of that year. “Northern Beef Packers sold to White
Oak for $44.3 million,” The National Provisioner, Dec. 9, 2013. Sam Kane Beef Processing
filed under Chapter 11 in January 2019 and was acquired by STX Beef Co. in February. “Kane
Beef plant sale closes, new owner pledges to restart operations,” Daily Adviser, Mar. 1, 2019.
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       C.       Beef Is A Commodity Product

       203.   A commodity is a basic item or good used in commerce that is interchangeable

with other goods of the same type. Commodities are most often used as inputs in the production

of other goods or services.

       204.   Beef is a commodity. For example, beef roasts from Tyson and Cargill are

virtually indistinguishable and have nearly identical nutritional content. The USDA recognizes

beef as a commodity and posts daily beef prices. Options and futures for the cattle from which

beef is produced are traded as commodities on the Chicago Mercantile Exchange.

       205.   Markets for commodity products are susceptible to collusion. Demand for a

commodity depends primarily, if not exclusively, on price as opposed to other attributes such as

product quality or customer service. As a result, cartel members can more easily monitor

compliance and detect defectors.

       206.   Any observed price discrepancies for commodities are more likely to expose

cheating because they cannot as readily be attributed to other factors such as special product

features, quality, reliability and durability, or other terms of a transaction.

       D.       The Demand for Beef Is Inelastic

       207.   Price elasticity describes the sensitivity of suppliers or consumers to changes in

the price of a good or service. Demand is inelastic if an increase in the price of a product results

in only a small decline, if any, in the quantity sold of that product.

       208.   Under conditions of inelastic demand, customers have nowhere to turn for

alternative, cheaper products of similar quality, and they continue to purchase despite a price

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increase.

       209.     For a cartel to profit from raising prices above competitive levels, demand must

be relatively inelastic at competitive prices; otherwise, increased prices would result in

declining sales, revenues, and profits as customers purchase substitute products or decline to

buy altogether.

       210.     Inelastic demand is a market characteristic that facilitates collusion, allowing

producers to raise their prices without triggering customer substitution and lost sales revenue.

       211.     Beef demand is relatively insensitive to price changes. According to a recent

study of beef demand, “since beef has an inelastic demand, industry total revenue increases

when prices rise as there comparatively is a limited reduction in volume purchased.” 45

       212.     The same study concluded that the relative impact of pork and chicken prices on

beef demand is economically small. Operating Defendants’ supracompetitive prices to its direct

purchasers do not significantly reduce beef sales or lead purchasers to seek protein from other

meat sources.

       E.         Defendants Took Advantage of Multiple Opportunities To Collude

       213.     Operating Defendants are members of industry trade associations and forums and

regularly attend industry events, including the events listed below. These events provide

opportunities to exchange pricing, supply, and other competitively sensitive information.

       214.     For example, the National Cattlemen’s Beef Association (“NCBA”) holds an


45
      Glynn Tonsor, Jason Lusk, Ted Schroeder, Assessing Beef Demand Determinants, (Jan.
18, 2018) at 7-9, https://www.beefboard.org/wp-content/uploads/2019/06/Assessing-Beef-
Demand-Determinants_FullReport.pdf.
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annual convention, CattleCon, which includes a summer conference, legislative conference,

and regional meetings46 The NCBA Product Council, which includes Defendants’

representatives and representatives from other packers, meets quarterly for the invitation-only

Beef Executive Forum. For example, two of Defendants’ executives, former CMS/Cargill Vice

President of Cattle Procurement Bill Thoni and former Tyson SVP of Beef Margin

Management and VP of Boxed Beef Pricing Kevin Hueser, were both officers, board members,

or formally designated participants of the NCBA during the Conspiracy Periods. Defendants

also participate in meetings of the Beef Checkoff program run by the Federation of State Beef

Councils, held contemporaneously with the NCBA summer and winter meetings.

      215.   The U.S. Meat Export Federation (“USMEF”) is another example of a trade

association at which Defendants regularly met. The USMEF develops export opportunities for

U.S. protein producers and holds both spring and fall conferences and monthly international

trade shows.47 USMEF leadership includes current and former employees and officers of

Defendants. For example, former CMS/Cargill Vice President of International Sales Pat Binger

was an officer, board member, or formally designated participant of the USMEF; former Tyson

Foods SVP of International Sales Roel Andriessen served as the Chair, Vice Chair, and on the

Executive Committee of the USMEF; former Tyson Foods SVP of International Sales and VP

International Sales Robert Shuey was a formal participant of the USMEF; National Beef

46
   NCBA Allied Industry Membership, NAT’L CATTLEMEN’S BEEF ASS’N (2019),
https://convention.ncba.org/ .
47
        Events: Meetings, U.S. MEAT EXP. FED’N (2019), http://www.usmef.org/events/bod-
meetings/; Events: Trade Show Calendar, U.S. MEAT EXP. FED’N (2019),
http://www.usmef.org/events/trade-shows/.
                                              70
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International President and former Vice President of International Sales Peter Michalski served

on the Export Committee of the USMEF; and former National Beef NBP International Sales

President Mark Domanski served on the Export Committee of the USMEF. Also, in November

2017, Tyson’s Roel Andriessen and CMS’s Pat Binger both attended the USMEF Strategic

Planning Conference in Tucson, Arizona.48

      216.   Defendants were among the founding members of the Global and U.S.

Roundtables for Sustainable Beef, and they remain members. Defendants participate in its

annual meetings each spring, and JBS and Cargill have leadership positions in some of the

working groups.

      217.   Defendants also came together for multiple meetings, conferences, conventions,

and expositions sponsored by the North American Meat Institute (“NAMI”) and its

predecessor, the American Meat Institute. NAMI is a national trade association that represents

companies that process 95% of red meat.49 Executives and employees of Defendants also

participated and held leadership positions in the NAMI. For example, CMS President of

Business Operations & Supply Chain and former Cargill Beef President John Keating was an

officer, board member, or formally designated participant of the NAMI; former Tyson Foods

CEO, Group President of Fresh Meats & International, and COO Noel White served on the

Executive Committee of the NAMI; former Tyson Foods CEO and President Thomas Hayes
48
   USMEF Members Examine Challenges ahead, Elect New Officer Team, U.S. MEAT EXP.
FED’N (Nov. 3, 2017), https://www.usmef.org/news-statistics/member-news- archive/usmef-
members-examine-challenges-ahead-elect-new-officer-team/ .
49
        See   About        NAMI,      NAT’L        AM.       MEAT       ASS’N    (2019),
https://www.meatinstitute.org/index.php?ht=d/sp/i/204/pid/204; Events, NAT’L AMERICAN
MEAT ASS’N (2019), https://www.meatinstitute.org/index.php?ht=d/sp/i/10422/pid/10422.
                                              71
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also served on the Executive Committee of the NAMI; National Beef President and CEO

Timothy M. Klein served on the Executive Committee of the NAMI; and JBS USA CEO Andre

Nogueira served on the Board of Directors of the NAMI.

      218.   The NAMI and the Food Industry Association host an annual Meat Conference,

which various executives and employees of Defendants attend every year.50 In 2017, National

Beef’s Timothy Klein, Tyson Vice President of Boxed Beef Pricing Don Kieffer, JBS USA‘s

Andre Nogueira, and CMS Vice President of Sales John Jay, amongst other Defendant

executives, were listed as attendees of the Meat Conference.51 In 2018, National Beef’s

Timothy Klein, JBS USA’s Andre Nogueira, Cargill Vice President of Retail Beef Business

Lead Elizabeth Gutschenritter, and Tyson’s Don Kieffer attended the Meat Conference. 52 In

2019, JBS USA’s Andre Nogueira, Tyson’s Noel White, National Beef’s Timothy Klein, and

Cargill’s Elizabeth Gutschenritter were listed as attendees.53 In 2020, Tyson’s Noel White and

National Beef’s Timothy Klein again signed up to attend the Meat Conference along with

various other Cargill and JBS executives and employees.54


50
    Meat Conference, NORTH AM. MEAT INST. AND FOOD INDUS. ASS’N,
http://meatconference.com/ (last visited Dec. 9, 2020).
51
        2017 Annual Meat Conference: Registered Attendees, FOOD INDUS. ASS’N (Dec. 9,
2020) https://www.fmi.org/forms/meeting/MeetingRosterPublic/viewRoster?meetingId=43A35
D00000DFE&sortBy=name.
52
        2018 Annual Meat Conference Attendee List as of 2.9.2018, MEAT CONFERENCE
(Feb.                                          9,                                      2018),
http://meatconference.com/sites/default/files/books/2018%20AMC%20Attendee%20List. pdf.
53
        Meat Conference 2019 Attendee List (as of 2/27), MEAT CONFERENCE (Feb. 27,
2019), http://meatconference.com/sites/default/files/books/2019-AMC-Attendee-List.pdf.
54
        2020 Annual Meat Conference: Registered Attendees, FOOD INDUS. ASS’N (Dec. 9,
2020),
                                             72
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       219.    Until April 2017, NAMI sponsored an annual Meat Industry Management

Conference, which offered topics such as economics and general business. That conference was

then replaced by an annual Meat Industry Summit. This summit has sponsored “networking

opportunities and social events” including a golf tournament, receptions, an “Issues, Answers,

Actions Breakfast,” the annual NAMI board meeting, and what one publication described as

“closed door committee meetings to discuss policies and association business.” The 2017

summit included a presentation by John Nalivka of Sterling Marketing entitled “Economic

Outlook for the Red Meat Industry,” described as an “analysis of supply and demand and price

forecasts” to “cover all aspects of the supply chain, and help your business prepare for the years

ahead.”

       220.    The beef industry’s Annual Meat Conference, described on the event’s website as

“a complete education and networking experience,” provides another opportunity for

Defendants to confer. Many of Defendants’ high-level executives have been attending this

conference for years. The list of registered attendees in 2012, for example, included eight

executives from JBS, Tyson Foods’s then-CEO Donnie Smith, and twelve other Tyson

executives.

       221.    Defendants’ executives and employees also attended “AgCon,” a joint conference

from the Commodity Futures Trading Commission and the Center for Risk Management




https://www.fmi.org/forms/meeting/MeetingRosterPublic/viewRoster?meetingId=571D8
1000004FF&includeUnpaid=1&sortBy=title.
                                               73
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Education and Research at Kansas State University, in 2018. 55 CMS’ Bill Thoni and Tyson’s

Kevin Hueser were listed as attendees of the 2018 AgCon along with other Packing

Defendants’ executives and employees, including Tyson Fresh’s VP of Sourcing & Risk

Management Randall Chambers; Tyson Fresh’s VP of Cattle Procurement John Gerber;

National Beef Vice President of Cattle Procurement Chad Barker; National Beef Vice President

of Procurement and Risk Management Phil Groetken; and JBS USA Head of Risk Management

Marco Sampaio.56

       222.   Tyson, JBS, and Cargill Defendant executives also had ample opportunities to

meet privately particularly at the beginning of the conspiracy as a result of JBS’s acquisition of

Tyson and Cargill’s Mexican and Brazilian chicken and U.S. pork operations, respectively. JBS

S.A.’s purchase of Tyson’s Brazilian and Mexican chicken operations was announced on July

28, 2014 and closed on December 1, 2014 and June 29, 2015, respectively, 57 while its purchase

of Cargill’s U.S. pork operations was announced on July 1, 2015 and closed on October 30,

2015. Cargill, Tyson, and JBS executives with responsibilities relating to beef and cattle such




55
        Inaugural AgCon brings business, government together to discuss ag futures markets,
KANSAS          STATE        UNIV.       (Mar.     8,      2018),       https://www.ksre.k-
state.edu/news/stories/2018/03/AgCon2018.html.
56
        2018 AgCon Attendees, KANSAS STATE UNIV. (Mar. 28, 2018), https://www.k-
state.edu/riskmanagement/documents/Ag_Con_2018_Attendees_Mar30.pdf.
57
    JBS Foods Int’l B.V., Registration Statement (Form F-1) at 112 (Dec. 5, 2016),
https://www.sec.gov/Archives/edgar/data/1691004/000119312516785274/d304020df1.htm.
                                               74
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as then-Tyson CEO and President Donnie Smith,58 JBS USA CEO Andre Nogueira,59 and then-

Cargill Senior Vice President Todd Hall60 were all involved in the acquisition discussions. JBS

S.A.’s CEO Wesley Batista stated in July 2015 that its “courtship” with Cargill in relation to its

U.S. pork operations “started years ago,” with discussions intensifying at the beginning of

2015, coinciding with the start of the Conspiracy Period.61

       223.   These events afford Defendants’ top executives and other employees frequent

opportunities to discuss pricing, production, and other proprietary information in an informal

setting and monitor compliance with their conspiracy.

       F.      Defendants Exacerbated Their Supply Restraints By Continuing to
               Reduce Their Imports

       224.   Defendants did not offset their slaughter reductions by importing more cattle into

the United States. Rather, imports continued decreasing in 2015 and throughout the

Conspiracy Period. Figure 9 captures this trend:




58
        Tyson to sell Mexico, Brazil poultry businesses to JBS, REUTERS (July 29, 2014, 1:32
PM), https://www.reuters.com/article/us-tyson-foods-results/tyson-to-sell-mexico- brazil-
poultry-businesses-to-jbs-idUKKBN0FX0UR20140729.
59
        Lawrence Aylward, Inside the JBS, Cargill deal, MEAT + POULTRY (July 2, 2015),
https://www.meatpoultry.com/articles/13164-inside-the-jbs-cargill-deal.
60
        Press Release, Cargill, JBS USA Pork agrees to purchase Cargill Pork business (July 1,
2015), https://www.cargill.com/news/releases/2015/NA31861255.jsp.
61
        Luciana Magalhaes, With Cargill Purchase, Brazil’s JBS Poised to Become No. 2 Pork
Producer in U.S., WALL STREET JOURNAL (July 2, 2015, 3:18 PM),
https://www.wsj.com/articles/with-cargill-purchase-brazils-jbs-poised-to-become-no-2- pork-
producer-in-u-s-1435864508.
                                               75
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                                          Figure 9.




       225.   Furthermore, certain     Defendants     shuttered international   plants, thereby

decreasing the supply of cattle available to be imported into the United States, which could

otherwise have offset Operating Defendants’ conspiratorial reductions.

       226.   Operating Defendants’ reduced domestic slaughtering and reduced cattle imports

for slaughter combined to raise above competitive levels beef prices paid by Plaintiffs.

       G.      Defendants’ Market Share Stability is Indicative of a Conspiracy

       227.   In a competitive market, market shares fluctuate as producers compete for and

gain business from each other. Stable market shares over time can suggest anticompetitive

behavior like that engaged in by Operating Defendants.

       228.   Although market-share stability in a commodity market does not itself prove

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collusion, it strongly suggests operation of an effective cartel that has agreed not to compete. A

marked decline in market-share volatility over time may suggest a conspiracy in a previously

competitive market.

       229.   Available data show that Operating Defendants’ market shares, measured by

wholesale beef sales, became more stable during the Conspiracy Period. The same is true for

Operating Defendants’ market shares as measured by slaughter capacity.

       230.   Operating Defendants did not do the things true competitors would do in a

competitive market. They did not attempt to capture each other’s market share or lower prices

as their costs declined. Rather, they shared competitively sensitive confidential information.

       231.   As described in Section V. B., Operating Defendants reduced their output and

capacity to produce beef for sale to Plaintiffs. In a competitive market, the reduction in output

by one producer typically presents an opportunity for competitors to capture market share in the

face of constant or increasing demand.

       232.   But instead, Operating Defendants reduced their output to limit beef supply,

which increased beef prices. By acting together to advance their conspiracy, Operating

Defendants sacrificed potential individual gains via increased market share for larger collective

gains for all by increased prices and profit at the expense of Plaintiffs. Figure 10 demonstrates

Operating Defendants’ overwhelming dominance of the market for the purchase of fed cattle.




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                                       Figure 10.
       Operating Defendants’ Share of Annual U.S. Fed Cattle Slaughter Volumes




      H.      The Production Cuts Were Implemented Despite Surging Beef Demand

      233.   Operating Defendants’ joint slaughter management was not a reaction to changes

in beef demand. Tyson Fresh’s Head of Cattle Procurement, John Gerber, admitted at a

November 2018 industry conference:

       “[The] [c]onsumer will pay more for beef, and have to pay more for beef because it is
       worth more. There is value out there in chicken and pork, but unless you have been
       living under a great big rock the last two years, you know that beef demand is off the
       charts. We have a lot of supply coming at us, but we have been able to hold the price at
       a pretty good level, because of beef demand, it’s been really good, and I think it will
       stay good62
62
      Tyson Fresh Meats: What the Consumer Demands - John Gerber, VP, Cattle
Procurement, Tyson Foods; Kevin Hueser, VP, Beef Pricing, Tyson Foods, from the 2018
NIAA Antibiotic Symposium: New Science & Technology Tools for Antibiotic Stewardship,
                                             78
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 Yet, no Operating Defendant broke from their collective restraint and bought more cattle in an

 attempt to capture this “off the charts” demand for beef.

         234.   By February 2019, beef demand was “terrific” and, in ordinary times, would

encourage packers to compete to secure more cattle and run plants to meet customers’

demand.63

         235.   This strong beef demand trend continued into the fall of 2019, where the

“voraciousness of beef demand [surprised] pretty much everyone in the business.” 64

         236.   As shown in Figure 11 below, beef demand rebounded from its low in 2013. Beef

demand not only remained strong during the Conspiracy Period, but actually steadily increased

from its prior lows in the immediate pre-collusion period, as is also evident from Figure 11

below.




November           13-15,       2018,         Overland      Park,       KS,         USA,
https://www.youtube.com/watch?v=qCip3WBcqzo.
63
        Cassandra Fish, How About That, THE BEEF (Feb. 11, 2019),
https://www.thebeefread.com/2019/02/11/how-about-that-3/ (“Rather obviously, beef demand
is terrific. Even in February, notoriously a slow beef demand month. Packer margins are
record wide for February.”).
64
        Cassandra Fish, Packers Press and Cash Softens, THE BEEF (August 9, 2019),
https://www.thebeefread.com/2019/08/09/packers-press-and-cash-softens/.

                                               79
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               Figure 11. Monthly Beef Demand Indices, Jan. 1988 – Nov. 2020




VIII.   THE BEEF INDUSTRY FACES GOVERNMENTAL INQUIRIES AND
        INVESTIGATIONS

        237.   Price fixing, concerted output restriction, and other anticompetitive conduct,

 especially in an industry as large, prominent, and vital to national well-being as food

 production, eventually attract governmental scrutiny. The nation’s antitrust enforcers, along

 with politicians and other government regulators, have an interest in ending such practices.

        238.   Over the past year, Defendants’ market power and profiteering, made even more

 unattractive by the COVID-19 pandemic, has caught the attention of politicians and regulatory

 bodies. Investigations confirm the egregiousness of Defendants’ conduct and suggest

 Defendants’ culpability for their illegal acts.

        239.   In August 2019, the USDA opened an investigation into the beef industry

 following a fire at Tyson’s Holcomb, Kansas plant. The USDA took notice after the reduction

 in available supply simultaneously caused cattle prices to fall while elevating beef prices.

        240.   On March 19, 2020, U.S. Senators Mike Rounds of South Dakota, Kevin Cramer
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and John Hoeven of North Dakota, and Steve Daines of Montana sent a letter to the DOJ urging

the department to launch an investigation into price-fixing in the cattle market. The authors

highlighted Defendants’ harm to upstream producers and downstream consumers.

      241.   On a conference call reported in the press, Senator Rounds stated the request was

for the DOJ “to definitively answer whether a packer oligarchy exists within the cattle market

and inherently creates an anti-competitive marketplace that unfairly disadvantages the cattle

producer and the consumer.” Senator Rounds further commented, “These margins just don’t

make any sense. The reality is there is an inverse correlation between the producer’s price and

the consumer’s price.”

      242.   On April 8, 2020, Reuters reported that the USDA had extended its existing

investigation to include a pricing dynamic like what was observed after the Holcomb fire—

reduced prices paid to ranchers for cattle accompanied by a surge in retail beef prices—in the

wake of announced production shortages associated with the nationwide COVID-19 outbreak.

      243.   On April 17, 2020, state-level cattle production trade associations from 23 states

signed a letter to Attorney General William Barr requesting the DOJ coordinate with the USDA

and launch its own investigation into “fraudulent business practices within the meatpacking

industry.” Signatories included the Minnesota State Cattlemen’s Association.

      244.   The letter described the two extraordinary pricing episodes, identified by the

USDA, following the Holcomb fire and during the COVID-19 outbreak. The state trade

associations not only reported their own plight but also observed that: “The nature of previous

and current concern in both situations is extreme market degradation to the producer segment

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quickly followed by sharp increases and unseasonable profitability to the packing segment

through boxed beef prices.”

       245.   With respect to the most recent manipulations, the letter explained that: “We are

now seeing that same type of price action [observed after the Holcomb fire] repeated— only in

a more extreme manner and during a time of crisis that includes logistical stressors on the

nation’s food production and distribution system. Indeed, in the last analysis, Defendants’

conduct portends more than mere profiteering. If left unchecked, it will remain a direct and

gathering threat to the country’s food security during the current crisis.”

       246.   On May 5, 2020, 11 state attorneys general representing agricultural heartland

states, including the Minnesota attorney general, signed a joint letter to Attorney General Barr

urging the DOJ to open a coordinated federal antitrust investigation into “anticompetitive

practices by the meat packers in the cattle industry.” This letter reiterated the two-way value

extraction made possible by Defendants’ market power: “Cattle ranchers . . . often struggle to

survive. Consumers, moreover, do not realize the benefits from a competitive market.”

       247.   On June 4, 2020, Bloomberg reported that the DOJ had served civil investigative

demands on Tyson Foods, JBS S.A., Cargill, Inc., and National Beef in connection with an

investigation into antitrust violations consistent with the earlier requests by the producer trade

associations and state attorneys general.

IX.    ANTITRUST INJURY

       248.   The cattle market is an oligopsony consisting of the Operating Defendants, which

purchase most of the cattle for slaughter and produce most of the beef sold in the wholesale

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market. When Operating Defendants colluded to restrict supply, the market effectively became

a monopsony that left Plaintiffs with no choice but to accept whatever price Operating

Defendants offered.

       249.   In a competitive market, the volume of cattle purchased by beef producers (such

as Defendants) would equal the volume where supply matches the demand/marginal revenue

product curve, and the price for that cattle would be the additional revenue that the producers

would receive for cattle.

       250.   When Operating Defendants collaborated to restrict supply, they exercised their

monopsony power to compel Plaintiffs to accept the price Operating Defendants offered, thus

driving down the market price. In this manner, Operating Defendants’ monopsony power

enabled them to maximize their profit by purchasing fewer cattle at a lower price.

       251.   Further, because imported beef was not offsetting the shortages that Operating

Defendants created, the restricted supply of cattle caused a restricted supply of beef in the

downstream market to direct purchasers like Plaintiffs.

       252.   From the standpoint of direct purchasers of commodity beef, such as Plaintiffs,

Operating Defendants function as an oligopoly in control of most of the industry supply. When

Operating Defendants colluded to restrict supply, the market for beef became a monopoly in

which direct purchasers were forced to buy at prices dictated by Operating Defendants who

acted in concert.

       253.   Because no other source was offsetting the shortages, Operating Defendants

created the restricted supply of fed cattle, which in turn restricted the supply of beef in the

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downstream market to direct purchasers. Operating Defendants exacerbated this restriction

through their concerted manipulation of slaughter capacity and processing volume.

       254.    Because Operating Defendants had and have accompanying downstream market

power, they were able to maximize their profits by colluding to produce volumes based on their

marginal revenue curve instead of the market demand curve, which increased prices that

Plaintiffs paid.

       255.    Because Operating Defendants did not fear competition from other meatpackers,

Operating Defendants’ collusion had the dual effect of (a) artificially decreasing the price that

Operating Defendants paid for cattle; and (b) artificially increasing the price they charged for

their beef products.

       256.    Operating Defendants’ monopsony power and anticompetitive conduct had the

following effects, among others:

                      Price competition in the beef market was restrained or eliminated;

                      Prices for beef sold by Operating Defendants, their divisions,
                       subsidiaries, and affiliates, and co-conspirators, and, in turn, other beef
                       producers, were raised, maintained, and fixed at artificially high,
                       noncompetitive levels throughout the United States;

                      Direct purchasers of beef were deprived of free and open competition;
                       and
                      Direct purchasers paid artificially inflated prices.

       257.    The purpose of Operating Defendants’ and their co-conspirators’ conduct was to

raise, fix, or maintain the price of beef above a competitive level. As a direct and foreseeable

result, Plaintiffs paid supra-competitive prices for beef during the Conspiracy Period.

       258.    Defendants’ violations of the Sherman Act caused Plaintiffs to suffer injury to
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their businesses or property.

       259.   This harm is an antitrust injury of the type that the antitrust laws were designed to

punish and prevent.

X.     DEFENDANTS FRAUDULENTLY CONCEALED THEIR CONSPIRACY

       A.     Defendants’ Concealment of Plaintiffs’ Cause of Action

       260.   Throughout the Conspiracy Period, Defendants effectively, affirmatively, and

fraudulently concealed the conspiracy from Plaintiffs.

       261.   Defendants used various means and methods to fraudulently conceal their

conspiracy, including but not limited to secret meetings, surreptitious communications between

Defendants by telephone or in person meetings to prevent the existence of written records,

limiting any explicit reference to competitor pricing or supply-restraint communications on

documents, and communicating competitively sensitive data to each other.

       262.   The facts alleged in Section V. B. of this complaint describe Defendants’ secret

behaviors intended to advance their conspiracy. These sections allege the who, what, when,

where, and how of Defendants’ conspiracy—based on behaviors known only to Defendants to

be illegal at the time they performed them—that plausibly suggest Defendants engaged in a

fraudulent-concealment campaign.

       263.   JBS and Tyson often falsely attributed their historically high profits to their

ability to accurately foresee the volume of cattle that would enter the beef supply chain in the

upcoming years, yet their high profits had nothing to do with foresight and instead were the

result of collusion as described in Section VI. B. of this complaint.

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       264.   Accordingly, Defendants concealed their illegal behavior from Plaintiffs by the

following means:

                      communicating privately by telephone about their purchases and
                       slaughter volumes so they would not create written evidence of sharing
                       this information, as well as relying on nonpublic forms of
                       communication;

                      offering false or pretextual rationales for the low fed cattle prices;

                      providing pretextual justifications for their plant closures, slaughter
                       reductions, and withdrawal from the cash cattle trade;

                      explicitly and implicitly representing that the fed cattle bids and contract
                       terms offered to Plaintiffs were the product of honest competition and not
                       a conspiracy;

                      misrepresenting that Defendants complied with applicable laws and
                       regulations, including antitrust laws; and
                      misrepresenting the nature of Defendants’ agreements (and purported
                       adherence to competitive safeguards) to government officials and the
                       public.

       265.   During the Conspiracy Period, Defendants also lied about their compliance with

antitrust laws whose compliance lies at the heart of Plaintiffs’ antitrust case:

                      Tyson’s Code of Conduct touts that “[w]e compete in the market with
                       integrity and comply with competition laws [and w]e comply with the
                       letter and spirit of competition laws (also referred to as “antitrust” laws)
                       wherever we do business.”

                      JBS’s 2014 Annual Report asserts that the company has clear policies
                       “[t]o ensure ethical conduct and integrity in the management of its
                       business,” including a Manual of Ethical Conduct “that addresses issues
                       related to violations, conflicts of interest, third-party contracts,
                       employment practices, receiving gifts, decision making, anti-corruption
                       practices, and other sensitive topics.”

                      Cargill stressed in its 2015 Corporate Responsibility report that “[w]e
                       obey the law. Obeying the law is the foundation on which our reputation
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                        and Guiding Principles are built We conduct our business with integrity
                        We compete vigorously, but do so fairly and ethically. We ... comply
                        with the laws and regulations that support fair competition and integrity
                        in the marketplace.” Cargill reaffirmed this commitment in subsequent
                        Corporate Responsibility reports.

                       National Beef’s former majority shareholder, Jefferies Financial Group
                        acknowledged in its 2014 Annual Report that National Beef was “subject
                        to extensive government regulation,” including the USDA’s.

       266.   As it concerns Cargill, Inc.’s, JBS S.A.’s, and Tyson Foods’s false or pretextual

statements or issued false or pretextual data, Cargill, Inc. did so for the benefit of CMS, JBS

S.A. did so for the benefit of JBS USA, Swift, and Packerland, and Tyson Foods did so for the

benefit of Tyson Fresh because, had these parent Defendants not continually cloaked Operating

Defendants’ conspiracy, the entire conspiracy would have been unable to operate. Indeed, these

parent Defendants told and perpetuated many of the lies that fueled Operating Defendants’

conspiracy and allowed it to operate.

       267.   In addition to Defendants having affirmatively concealed their conspiracy,

Defendants’ conspiracy was inherently self-concealing because it depended on secrecy for its

successful operation.

       268.   Defendants also lied about their plant closures, slaughter reductions, and

withdrawal from the cash cattle trade as follows:

                     1.      The Cargill Defendants

       269.   As discussed above, the Cargill Defendants shared a unity of corporate interest

and operated as part of a single enterprise to advance their conspiracy.

       270.   To facilitate Defendants’ conspiracy, Cargill, Inc. made public statements

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offering pretextual explanations to cloak Defendants’ unlawful activity. For example, Cargill,

Inc. used its 2017 Annual Report to explain that “[r]enewed consumer demand for beef

[produced] favorable market conditions in North America.”

       271.   The following year, Cargill, Inc. proclaimed that its Animal and Nutrition &

Protein segment’s “strong performance” in 2018 was “fueled by rising domestic and export

demand for North American beef” rather than through its price-fixing scheme, which reference

Cargill, Inc. understandably avoided.

       272.   Cargill, Inc. made these false public statements to obscure its role and

participation in the conspiracy. Instead of disclosing that its “strong performance” stemmed

from the illegal behavior and profits, Cargill, Inc. concocted fabricated business justifications

such as “favorable market conditions” and “rising domestic and export demand.”

                     2.     The JBS Defendants

       273.   As discussed above, the JBS Defendants shared a unity of corporate interest and

operated as part of a single enterprise to advance the conspiracy.

       274.   To facilitate the conspiracy, JBS USA made public statements to conceal

Defendants’ unlawful activity. For example, in November 2015, JBS USA CEO Andre

Nogueira declared that “[c]attle price will go down” in the United States because “we are going

to see more cattle available.”

       275.   Similarly, in March 2016, JBS S.A.’s CEO Wesley Mendonca Batista, stated that

JBS would see “better margin[s]” due to an “increase in the herd in the U.S.”

       276.   JBS executives made similar statements throughout 2016 and 2017 and into 2018,

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regularly claiming that JBS’s strong financial performance in the United States was a result of

“more cattle available in the U.S.,” “cattle price[s being] back to the normal level,” and “strong

demand for beef.”

       277.   Instead of disclosing that the “improvement in EBITDA margin” was the result of

illegal profits from the conspiracy, JBS offered false business justifications such as “more cattle

available in the U.S.” and cattle prices returning “back to the normal level.” JBS made all these

false public statements to disguise its role and participation in the conspiracy.

                     3.     National Beef

       278.   To facilitate the conspiracy, National Beef, through its majority shareholders

Jefferies Financial Group Inc. and later Marfrig Global Foods S.A., used public statements to

conceal Defendants’ unlawful activity.

       279.   For example, in October 2015, Jefferies stated that the anticipated expansion of

the cowherd “bodes well for [meatpacking industry] margins as it will lead to an increase in the

number of fed cattle available for slaughter.”

       280.   In October 2016, Jefferies explained that the “rebuilding of the domestic US

cattle herd ha[d] dramatically affected the market for fed cattle” when justifying how, “[f]rom

June 27, 2015 to June 25, 2016, the average market price per pound of fed cattle ha[d] fallen

from $1.48 to $1.16.”

       281.   Jefferies offered similar justifications throughout 2017 and 2018, such as

“National Beef generated record results for [the last 12 months] on the back of a more balanced

supply of cattle and robust end market demand,” “an increased supply of cattle in 2017 has

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driven higher margins and greater capacity utilization versus 2016,” “pre-tax income grew by

$78.3 million, as increased cattle availability and strong demand for beef continued to support

strong margins,” and “because the peak in supply of fed cattle ready for slaughter lags the peak

size of the beef cowherd, throughput should continue to increase for at least the next several

years, supporting continued above-average packer margins.”

      282.   These statements were made during Jefferies Financial Group Investor Day

presentations in 2015, 2016, and 2017, at which National Beef’s CEO and President, Tim

Klein, was scheduled to speak on topics related to National Beef’s performance.

      283.   Marfrig similarly offered false justifications for the low prices caused by the

conspiracy after Marfrig acquired a controlling stake in National Beef.

      284.   For example, Marfrig reported in November 2018 that, “[i]n the United States,

the cattle availability combined with stronger domestic and international demand has been

supporting better margins.”

      285.   In 2018, during a third-quarter company earnings call, Marfrig executives

reiterated the preceding paragraph’s point by claiming that “the U.S. beef industry has

delivered record results” because of “an ample supply of cattle” and “strong demand in both the

domestic and international markets.” Although Marfrig declared that it had attained record

results and better margins while reducing cattle slaughter volumes, it misrepresented that these

results were due to “fewer weeks in the third quarter 2018 compared to the third quarter 2017.”

      286.   National Beef CEO, Timothy M. Klein—referred to by Marfrig CEO, Eduardo de

Oliveira Miron, as “CEO of [Marfrig’s] North American Operations”— participated in the

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2018 call.

       287.    Marfrig announced in the fourth quarter of 2018 that it attained a “[s]olid result

from North America Operation, sustained by strong demand for beef protein and the higher

cattle availability.”

       288.    Jefferies and Marfrig made these pretextual public statements on behalf of

National Beef—which, as alleged above, was the original source of the pretextual public

statements—to obscure their role and participation in the conspiracy. Instead of disclosing that

their record results and better margins stemmed from the illegal prices implemented by the

conspiracy, Jefferies and Marfrig claimed these results were due to ample supply of cattle,

higher cattle availability, and strong demand.

                        4.   The Tyson Defendants

       289.    As discussed above, the Tyson Defendants shared a unity of corporate interest

and operated as part of a single enterprise to advance the conspiracy.

       290.    To facilitate the conspiracy, Tyson Foods made public statements to conceal

Defendants’ unlawful activity. For example, Tyson Foods used its SEC filings from 2015 to

2018 to declare that it had “limited or no control” over the pricing and production of cattle

because prices were “determined by constantly changing market forces of supply and demand.”

       291.    As for the factors that influence the cost of cattle, Tyson identified “weather

patterns throughout the world, outbreaks of disease, the global level of supply inventories and

demand for grains and other feed ingredients, as well as agricultural and energy policies of

domestic and foreign governments.”

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       292.       Tyson further stated that it “ceased operations at our Denison, Iowa plant” to

“better align our overall production capacity with current cattle supplies.” Tyson claimed that

“[t]he beef segment earnings improved . . . due to more favorable market conditions associated

with an increase in cattle supply which resulted in lower fed cattle costs.”

       293.       Rather than truthfully disclosing that the conspiracy improved its earnings, Tyson

Foods issued false business justifications such as lower fed cattle costs and favorable market

conditions. Tyson Foods made these misrepresentations to cover up its role and participation in

the conspiracy.

       294.       There was no truth to Defendants’ foregoing statements. Rather, Defendants

made them to mislead Plaintiffs into believing they were acting legally as keeping Plaintiffs in

the dark would allow Defendants’ price-fixing conspiracy to operate and for Defendants to

profit from it.

       B.         Plaintiffs Were Unable to Discover the Existence of Operating Defendants’
                  Conspiracy

       295.       Plaintiffs had neither actual nor constructive knowledge of the facts constituting

their claim for relief. Plaintiffs did not discover, and could not have discovered through the

exercise of reasonable diligence, the existence of the conspiracy alleged herein until the filing

of the cattle ranchers class action, In re Cattle Antitrust Litigation, in this District on May 7,

2019. Defendants engaged in a secret conspiracy that did not reveal facts that would put

Plaintiffs on inquiry notice that there was a conspiracy to fix prices for pork. Throughout the

relevant period, Defendants effectively, affirmatively, and fraudulently concealed their


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unlawful combination and conspiracy from Plaintiffs.

      296.    The combination and conspiracy alleged herein was fraudulently concealed by

Defendants by various means and methods, including but not limited to secret meetings,

surreptitious communications between Defendants by the use of the telephone or in-person

meetings in order to prevent the existence of written records, limiting any explicit reference to

competitor pricing or supply restraint communications.


      297.    Plaintiffs only recently learned about Witness 1, as early as April 7, 2019, upon

the filing of cattle ranchers’ complaint. Witness 1 offers direct evidence that the beef industry

has been colluding to fix prices. Prior to the cattle ranchers’ complaint and Witness 1’s account

therein, Plaintiffs did not know and could not have known of the conspiracy and did not have

any facts that would have reasonably put them on inquiry notice regarding the existence of the

conspiracy.


      298.    Plaintiffs also only recently learned about the USDA and DOJ investigations into

price fixing in the beef industry, as early as March 12, 2020. Plaintiffs did not learn and could

not have learned about the USDA and DOJ investigations into price fixing in the beef industry

at any time before March 12, 2020, when Secretary of Agriculture Sonny Perdue announced

that the USDA had begun an investigation into suspiciously high beef prices as alleged above,

and thus did not have any facts that would have reasonably put them on inquiry notice

regarding the existence of the conspiracy.

      299.    Before Witness 1’s account and the revelation of the government’s investigations,

no facts existed that could have or should have reasonably suggested or disclosed to Plaintiffs
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the possibility of price fixing in the beef industry.

       300.    Operating Defendants’ conspiracy, by its very nature, was self-concealing.

       301.    The beef industry is not exempt from antitrust regulation, and thus, before these

recent events, Plaintiffs reasonably considered it to be a competitive industry. Accordingly, a

reasonable person under the circumstances would not have been alerted to begin to investigate

the legitimacy of Operating Defendants’ beef prices and conduct before these recent events.

       C.      Plaintiffs Exercised Due Diligence in Attempting to Discover Their Claim65

       302.    Plaintiffs could not have learned of Operating Defendants’ anticompetitive

conduct until recently after public disclosures regarding Witness 1 and the existence of

governmental investigations. Market conditions that Operating Defendants ascribed to legal

behavior did not put Plaintiffs on inquiry notice.

       303.    Operating Defendants’ concealment was successful—that is, because of their

concealment, Plaintiffs were unable to discover the existence of their antitrust claim.

       304.    Because of Operating Defendants’ fraudulent concealment, Plaintiffs had

insufficient information concerning Operating Defendants’ misconduct on which to base a

complaint and could not have discovered Operating Defendants’ conspiracy.

       305.    Defendants’ affirmatively made public statements giving pretextual reasons for

their record profits.

       306.    Because of Defendants’ misrepresentations, and Defendants’ success and

precision in cloaking their illegal behavior, Plaintiffs lacked reasonable awareness of suspicious

65
        Since due diligence is an affirmative defense, Plaintiffs need not necessarily plead it
here but do.
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circumstances or storm warnings sufficient to trigger the duty to investigate.

       307.   A reasonable person would not have discovered the conspiracy through any of

Defendants’ statements. As such, the most reasonable time for Plaintiffs’ duty to inquire to

arise was not until after Witness 1’s revelations and indication of the government’s antitrust

investigations became known.

XI.    DEFENDANTS ENGAGED IN CONTINUING ANTITRUST VIOLATIONS

       308.   A continuing violation can operate in two ways. First, a continuing violation

restarts the statute of limitations period each time Defendants commit an overt act. Second, a

continuing violation can occur where, as here, Defendants’ anticompetitive conduct causes a

continuing harm to Plaintiffs.

       A.     Defendants Renewed their Conspiracy with New and Independent Acts

       309.   During the Conspiracy Period, Operating Defendants continued to make sales to

Plaintiffs of beef whose prices were fixed as the result of Operating Defendants’ continually

renewed and adjusted price-fixing agreement. Operating Defendants, acting collectively,

needed to continually renew and adjust their price-fixing agreement to account for ever-

fluctuating economic and market conditions.

       310.   Defendants’ meetings and misrepresentations were among the overt acts that

began a new statute of limitations because these events advanced the objectives of Defendants’

conspiracy. In addition, Defendants committed new overt acts each time that they took actions

to implement their conspiracy, such as reducing and restraining the supply of processed beef

from their actions in the purchasing of fed cattle, which occurred at each auction, and their

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decisions to curtail production at their processing plants.

       311.   Defendants’ overt acts, which were new acts beyond the initial price fixing that

were necessary to perpetuate Defendants’ agreement, continued throughout the Conspiracy

Period. Each sale of beef by an Operating Defendant at a supracompetitive price was a new

overt act that was part of Defendants’ antitrust violation that injured Plaintiffs and started the

statutory period running again.

       312.   Defendants’ overt acts, including, but not limited to those mentioned above, were

new and independent acts that perpetuated their agreement and kept it current with market

conditions; they were not merely reaffirmations of Defendants’ previous acts. By constantly

renewing and refining their agreement to reflect market conditions, Defendants inflicted new

and accumulating injury on Plaintiffs.

       313.   This reality is most easily recognized when considering the pricing dynamics and

slaughter reductions following the Holcomb fire and onset of COVID-19 discussed above.

       B.     Defendants Inflicted New and Accumulating Injury on Plaintiffs

       314.   Each purchase by Plaintiffs through the Conspiracy Period of Operating

Defendants’ beef, the price of which resulted from Operating Defendants’ continually renewed

and adjusted price-fixing agreement, necessarily caused new and accumulating injury to

Plaintiffs.

       315.   As the concept of a continuing violation applies to a price-fixing conspiracy that

brings about a series of unlawfully high-priced sales over a period of years, each sale to

Plaintiffs starts the statutory period running again regardless of the Plaintiffs’ knowledge of the

                                                96
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alleged illegality at much earlier times. This means that each illegally priced sale of beef to

Plaintiffs constituted a new cause of action for purposes of the statute of limitations.

       316.   Operating Defendants’ conspiracy continued into the non-time-barred Conspiracy

Period—that is, four years before the first cattle ranchers class action complaint was filed and

alternatively four years before the filing of the first direct purchaser class action complaint.

       317.   As alleged throughout this complaint, Operating Defendants’ price fixing began

in at least 2015, and many of Plaintiffs’ factual assertions allege Operating Defendants’ 2015

misconduct. But Plaintiffs also allege that Operating Defendants’ misconduct continued

throughout the Conspiracy Period.

       318.   Many of Operating Defendants’ illegal acts occurred in 2015 and continued

throughout the Conspiracy Period. See supra Section V. B. and Figures 1–3, 7-8 (describing

Defendants’ overt illegal acts beginning in 2015 and extending into the four-year period before

the earlier related cattle ranchers class action complaint was first filed and alternatively four

years before the filing of the first direct purchaser class complaint.

       319.   Plaintiffs allege that Operating Defendants constantly coordinated and

communicated with each other beginning in 2015 and throughout the Conspiracy Period. The

fact that they maintained such communications makes plausible the allegation that their

conspiracy continued from 2015 through the present. See supra Sections V. B. and VI. B.

(describing coordination and communications among Operating Defendants in 2015 and

continuing throughout the Conspiracy Period). In this manner, Operating Defendants’

conspiracy continued when their sales to Plaintiffs were made during the four years preceding

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the filing of the first related cattle ranchers class action complaint, and in the alternative, during

the four years preceding the filing of the first direct purchaser class complaint.

        320.   Each of the beef industry’s plus factors were present in 2015 and throughout the

Conspiracy Period: high market concentration, commodity product, inelastic demand, high

barriers to entry, and trade association meetings that occurred each year and provided the

Operating Defendants the continual opportunity to conspire.

        321.   Moreover, Defendants’ conspiracy was intended to and did inflict continuing

harm on Plaintiffs as a result of their collective reduction and restraint on the supply of

processed beef.

        322.   In addition, to the extent that the Operating Defendants’ conspiracy was intended

to and did have the effect of reducing and restraining supply, it had a continuing effect because

it takes 24 to 33 months to raise cattle for slaughter and that does not include the processing

time.

        323.   Finally, this complaint alleges that Operating Defendants sold beef directly to

Plaintiffs during the Conspiracy Period.

XII. VIOLATIONS OF SECTION 1 OF THE SHERMAN ACT, 15 U.S.C. § 1

        324.   Plaintiffs incorporate and reallege all preceding paragraphs.

        325.   Beginning at least as early as 2015 and continuing through the present, the exact

dates presently unknown to Plaintiffs, Defendants and their co-conspirators entered and

engaged in a continuing agreement, understanding, and conspiracy in unreasonable restraint of

trade to artificially fix, raise, and stabilize the wholesale price for beef in the United States, thus

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creating anticompetitive effects in violation of Section 1 of the Sherman Act.

       326.   Defendants’ acts in furtherance of their combination or conspiracy were

authorized, ordered, or done by their officers, agents, employees, or representatives while

actively engaged in the management of Defendants’ affairs.

       327.   Defendants and their co-conspirators conspired to conceive and further their

objects of the conspiracy, including but not limited to the following acts, practices, and course

of conduct:

                      Fixing, raising, and stabilizing the wholesale price of beef; and

                      Allocating among themselves         and collusively       reducing the
                       production of beef.

       328.   The combination and conspiracy alleged had these effect`s, among others:

                      Price competition in the sale of beef has been restrained, suppressed, and
                       eliminated in the United States;

                      Prices for beef sold by Defendants, their divisions, subsidiaries, and
                       affiliates, and all their co-conspirators have been fixed, raised,

                       stabilized, and maintained at artificially high, non-competitive levels
                       throughout the United States; and

                      Plaintiffs who directly purchased beef from Defendants, their divisions,
                       subsidiaries, and affiliates, and co-conspirators, were deprived of the
                       benefits of free and open competition in the purchase of beef.

       329.   Defendants’ anticompetitive acts had a direct, substantial, and foreseeable effect

on interstate commerce by raising and fixing beef prices throughout the United States because

Defendants sell their beef in every state.

       330.   The conspiratorial acts and combinations have caused unreasonable restraints in


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the beef market.

        331.   Plaintiffs have been injured and will continue to be injured in their businesses and

property by paying more for beef purchased directly from Defendants and their co-conspirators

than they would have paid and will pay absent the conspiracy.

        332.   The alleged contract, combination, understanding, agreement, or conspiracy is a

per se violation of the federal antitrust laws.

        333.   Plaintiffs are entitled to an injunction against Defendants to prevent and restrain

the violations alleged.

XIII.    REQUEST FOR RELIEF

         WHEREFORE, Plaintiffs request that the Court grant the following relief:

                A.        Adjudge that the conspiracy and the acts done by Defendants and their
                          co-conspirators in furtherance thereof violate Section 1 of the Sherman
                          Act, 15 U.S.C. § 1;

                B.        Enter judgment for Plaintiffs against Defendants for three times the
                          damages sustained by Plaintiffs as a result of Defendants’ violations of
                          Section 1 of the Sherman Act and costs of this action, including
                          reasonable attorneys’ fees, as permitted Sections 4 and 16 of the Clayton
                          Act, 15 U.S.C. §§ 15 and 26;

                C.        Award Plaintiffs prejudgment and post-judgment interest at the highest
                          legal rate from commencement of this proceeding, to the extent allowed
                          by law;

                D.        Permanently enjoin Defendants and their co-conspirators, affiliates,
                          successors, transferees, assignees, officers, directors, partners, agents and
                          employees, and all other persons acting or claiming to act on their behalf
                          or in concert with them, from continuing, maintaining or renewing the
                          conduct, conspiracy, or combination and from entering into any other
                          contract, conspiracy, or combination having a similar purpose or effect,
                          and from adopting or following any practice, plan, program, or device
                          having a similar purpose or effect caused by any further violation of the
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                       antitrust laws; and

                E.     Such other and further relief as the Court may deem just and proper under
                       the circumstances.

XIV.   JURY TRIAL DEMANDED

       Plaintiffs demand a trial by jury according to Rule 38(b) of the Federal Rules of Civil

Procedure of all issues so triable.

Dated: October 15, 2021                      /s/ Patrick J. Ahern
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                  EXHIBIT 1
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                  Exhibit 1: Packing Defendants’ Share of LMR AMS Data

       1.      Various figures and calculations within the Complaint utilize fed cattle sales and

slaughter data published by the USDA Agricultural Marketing Service (“AMS”). These data series

consist of fed cattle purchases reported by beef packers pursuant to the AMS’ Livestock

Mandatory Reporting (“LMR”) requirements.

       2.      Only federally inspected cattle slaughter plants that have slaughtered a minimum

annual average of 125,000 head of cattle for the five preceding years, or those plants which have

operated for fewer than five years but which the USDA determines have the capacity to slaughter
                                                              1
that amount of cattle, are subject to the LMR requirements.

       3.      Based on their published slaughter capacities, each of Tyson, JBS, Cargill and

National Beef’s fed cattle slaughter plants meet this requirement and thus the cattle slaughtered at

these plants form part of the AMS series derived from LMR data.

       4.      As shown in Table 1 below, fed cattle sales reported by AMS LMR in 2015 through

2019 constitute 85%-89% of total fed cattle sales during that period based on North American Meat

Institute’s (“NAMI”) most recent estimates of total annual slaughter. 2 During this five-year period,

Tyson, JBS, Cargill and National Beef’s cumulative share of NAMI’s annual slaughter estimates

was between 81% (see Table 2 below). Between 2007 and 2014, total sales reported by AMS LMR
                                                                                          3
constituted between 83% and 90% of NAMI’s annual slaughter estimates (see Table 1). Between

2007 and 2014, Packing Defendants’ cumulative annual share of these cattle ranged between 82%



1
  Joel L. Greene, CONG. RESEARCH SERV., R45777, LIVESTOCK MANDATORY REPORTING
ACT: OVERVIEW FOR REAUTHORIZATION IN THE 116TH CONGRESS at 8-9 (2019),
https://fas.org/sgp/crs/misc/R45777.pdf.
2
  See 2018 Meat & Poultry Facts, 47th ed., NORTH AMERICAN MEAT INSTITUTE, 2019, at 12
(“2018 Meat & Poultry Facts”).
3
  Id.
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and 94% (see Table 2).

                                       Table 1.
                    Total AMS LMR-Reported Fed Cattle as a Percentage of
                       Total NAMI Commercial Slaughter – Fed Cattle 4

    2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017 2018 2019
    82% 86% 83%         84%    85%     88%    88%    88% 90% 83%          86%    86%     86%    85% 89% 87%


                                           Table 2.
                             Packing Defendants’ Combined Share of
                            NAMI Commercial Slaughter – Fed Cattle 5

       Year         2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017 2018                               2019
    JBS             23% 19%       24%    25%     23%    23%    23%     24%    21%    22%     21% 21%          21%
    Tyson           29% 27%       27%    27%     27%    27%    27%     29%    29%    26%     26% 26%          26%
    Cargill         23% 23%       28%    24%     23%    23%    22%     20%    21%    21%     22% 21%          21%
    National Beef   14% 14%       14%    14%     14%    14%    14%     13%    13%    13%     13% 12%          13%
    Total
                    89% 82% 94% 90% 87% 87% 87% 85% 83% 83% 82% 81%                                           82%
    Defendants
    Others          11% 18%        6%    10%     13%    13%    13%     15%    17%    17%     18% 19%          18%

          5.     As suggested by these market share figures, and shown in Table 3 below, during



4
  Total AMS LMR fed cattle numbers were calculated using the following reports: USDA-AMS, National
Weekly Direct Slaughter Cattle Report – Formulated and Forward Contract: LM_CT151; USDA-AMS,
National Weekly Direct Slaughter Cattle-Negotiated Purchases: LM_CT154; and USDA-AMS, National
Weekly Packer Owned Slaughter: LM_CT153-A. The calculations were performed in accordance with
established literature for obtaining the estimate of weekly total slaughter. See Scott Fausti, et al., GRID
MARKETING AND BEEF CARCASS QUALITY: A DISCUSSION OF ISSUES AND TRENDS 12,
table 2 (2008). 2018 Meat & Poultry Facts. 2019 NAMI Commercial Slaughter – Fed Cattle was estimated
using the average annual proportion of NAMI’s total commercial slaughter to slaughter under federal
inspection, as reported in USDA-AMS, Actual Slaughter Under Federal Inspection (SJ_LS711).
5
  2018 Meat & Poultry Facts. Packing Defendants’ fed cattle numbers were derived using the annual U.S.
slaughter volume for all types of cattle and the percentage cattle type mix for each Packing Defendant, as
reported by Cattle Buyers Weekly. See Cattle Buyers Weekly, “Top 30 Beef Packers 2008”; Cattle Buyers
Weekly, “Top 30 Beef Packers 2009”; Cattle Buyers Weekly, “Top 30 Beef Packers 2010”; Cattle Buyers
Weekly, “Top 30 Beef Packers 2011”; Cattle Buyers Weekly, “Top 30 Beef Packers 2012”; Cattle Buyers
Weekly, “Top 30 Beef Packers 2013”; Cattle Buyers Weekly, “Top 30 Beef Packers 2014”; Cattle Buyers
Weekly, “Top 30 Beef Packers 2015”; Cattle Buyers Weekly, “Top 30 Beef Packers 2016”; Cattle Buyers
Weekly, “Top 30 Beef Packers 2017”; Cattle Buyers Weekly, “Top 30 Beef Packers 2018”; Cattle Buyers
Weekly, “Top 30 Beef Packers 2019”; Cattle Buyers Weekly, “Top 30 Beef Packers 2020”.

                                                    2
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  these periods, the Packing Defendants’ combined annual fed cattle slaughter volume has effectively

  matched that reported by AMS LMR.

                                            Table 3.
                Packing Defendants’ Combined Annual Fed Cattle Slaughter Expressed
                   as a Share of AMS LMR-Reported Fed Cattle Slaughter Volumes

Defendant          2007 2008 2009            2010 2011 2012           2013 2014 2015 2016 2017 2018 2019
JBS                 28%    22%      28%       28%     26% 26%          28% 28% 24%             26% 25% 23% 24%
Tyson               35%    31%      31%       31%     31% 30%          33% 33% 33%             31% 31% 30% 30%
Cargill             27%    27%      32%       28%     26% 26%          26% 23% 24%             25% 26% 24% 25%
National
                    17%    16%      16%       16%     16% 16%          17% 15% 15%             15% 15% 14% 15%
Beef
All
                   106% 97% 106% 103% 99% 98% 104% 99% 96% 96% 96% 91% 94%
Defendants



           6.       While the USDA is prevented by confidentiality conditions imposed by the LMR

  from releasing details of the exact proportion of sales reported in its AMS LMR series that are

  attributable to the Packing Defendants, it is reasonable to conclude that the Packing Defendants
                                               6
  purchased over 90% of such fed cattle.




  6
    Certain of the Packing Defendants’ sales and non-Defendants’ sales will not have been included in the
  AMS LMR series due to the AMS “3/70/20” confidentiality guideline. In determining what purchase data can
  be published, the guideline “requires that (1) at least three entities report 50% of the time over the most recent
  60-day period, (2) no single reporting entity may account for more than 70% of reported volume over the
  most recent 60-day period, and (3) no single reporting entity may be the only reporting entity for a single
  report more than 20% of the time over the most recent 60-day period.” The adoption of these guidelines in
  August 2001 has been said to have “eliminated most of the data gaps”. Greene, supra note 1, at 9-10.
                                                          3
